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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

In re:                                                           Chapter 11

FTX TRADING LTD., et al.,                                        Case No. 22-11068 (JTD)

                                     Debtors,1                   (Jointly Administered)

ALAMEDA RESEARCH LTD., WEST REALM
SHIRES, INC., and WEST REALM SHIRES
SERVICES, INC.,

                                     Plaintiffs,
                         -against-

ROCKET INTERNET CAPITAL PARTNERS II                              Adv. Pro. No. 23-50379 (JTD)
SCS, ROCKET INTERNET CAPITAL
PARTNERS (EURO) II SCS, GFC GLOBAL
FOUNDERS CAPITAL GMBH, GFC GLOBAL
FOUNDERS CAPITAL GMBH & CO.
BETEILIGUNGS KG NR. 1, WILLIAM
HOCKEY LIVING TRUST, and 9YARDS
CAPITAL INVESTMENTS II LP,

                                     Defendants.

ALAMEDA RESEARCH LTD., WEST REALM
SHIRES, INC., and WEST REALM SHIRES
SERVICES, INC.

                                     Plaintiffs,                 Adv. Pro. No. 23-50380 (JTD)
                         -against-

MICHAEL GILES, et al.,

                                     Defendants.

                    DEFENDANTS’ MEMORANDUM OF LAW IN SUPPORT
                     OF THEIR MOTION TO DISMISS THE COMPLAINTS


1
  The last four digits of FTX Trading Ltd.’s and Alameda Research LLC’s tax identification numbers are 3288 and
4063 respectively. Due to the large number of debtor entities in these Chapter 11 cases, a complete list of the Debtors
and the last four digits of their federal tax identification numbers is not provided herein. A complete list of such
information may be obtained on the website of the Debtors’ claims and noticing agent at
https://cases.ra.kroll.com/FTX.
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Alameda                     Alameda Research Ltd.
Complaint or Compl.         The Giles Complaint filed in Adv. Proc. No. 23-50380
Debtors                     FTX Trading Ltd. and each of its affiliated debtors and debtors in
                            possession in the Main Case
D.I.                        Docket number of filings in the Main Case and adversary
                            proceedings
Embed                       Embed Financial Technologies Inc.
Embed Clearing              Embed Clearing LLC
Embed Equity Interests      Equity interests in Embed comprising shares, options, warrants
                            and SAFEs
Equity Purchase Transfers   Payments made to acquire Defendants’ Embed Equity Interests
FTX.com                     The trade name for the business conducted by FTX Trading Ltd.
FTX Group                   The collection of Debtor and non-Debtor entities described in
                            footnote 4 of the Complaint
FTX Insiders                Samuel Bankman-Fried, Caroline Ellison, Nishad Singh, and
                            Zixiao “Gary” Wang
FTX.US                      The trade name of WRSS, which operated the cryptocurrency
                            exchange founded by Messrs. Bankman-Fried, Singh and Wang
                            to provide cryptocurrency trading services to U.S. customers
Giles Complaint             Complaint filed in Adv. Proc. No. 23-50380
Incentive Agreements        Retention Inventive Award Agreements entered into with certain
                            Defendants in connection with the Merger Agreement
Main Case                   The jointly administered chapter 11 cases pending before the
                            United States Bankruptcy Court for the District of Delaware under
                            lead Case No. 22-11068
Merger Agreement            The Agreement and Plan of Merger by and Among West Realm
                            Shires, Inc., Ingrained Merger Sub, Inc., Embed Financial
                            Technologies Inc., and Shareholder Representative Services LLC
                            dated June 10, 2022
Plaintiffs                  Alameda, WRS, and WRSS
Rocket Complaint            Complaint filed in Adv. Proc. No. 23-50379
SAFE                        Simple agreement for future equity
WRS                         West Realm Shires, Inc.
WRSS                        West Realm Shires Services, Inc.




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                                            INTRODUCTION

        Until its “stunning collapse” in November 2022, FTX was the golden child of the crypto

scene and widely praised as one of the most stable companies in a volatile and loosely regulated

market. As part of their rapid expansion efforts supported by prominent investors, the FTX

Insiders turned their sights to acquiring Embed, a software company that provided the proprietary

technology infrastructure used by its wholly-owned subsidiary Embed Clearing, which was in turn

a licensed broker-dealer, custodian, and clearing firm. Plaintiffs characterize the acquisition as a

rushed, impulsive, and ill-advised lark. But the contemporaneous facts, including the prior

experience of a WRS subsidiary as an Embed customer, the FTX Insiders’ desire to build out

FTX’s business-to-business division, and the size of the transaction relative to the large-scale

operations of FTX’s many entities, reflect that the acquisition was an ordinary corporate

transaction pursued for a legitimate business purpose.

        Although Embed was still a relatively young growth-phase company, its promise was

undeniable and had attracted over $40 million in investments from some of the most reputable

venture capital firms in the United States. Among its singular achievements in the industry, Embed

built its technology platform from the ground up and obtained regulatory approvals from a litany

of regulatory bodies and clearinghouses with unprecedented speed,2 and became a member of both

The Nasdaq Stock Market LLC and the Investors’ Exchange LLC (“IEX”). Moreover, whereas

many broker-dealers must rely on third parties to act as the clearing firm and custodian, Embed

Clearing was authorized to serve as a clearing firm and custodian for equities, options, mutual

funds, fractional equities, and over-the-counter equities.



2
  These regulatory bodies and clearinghouses included: the U.S. Securities and Exchange Commission, the Financial
Industry Regulatory Authority, Inc. (“FINRA”), the Depository Trust Company (“DTC”), the National Securities
Clearing Corporation (“NSCC”), and The Options Clearing Corporation.




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       A WRS subsidiary was an early Embed client and, based on that first-hand experience with

Embed’s capabilities, WRS decided to make an offer to acquire Embed in the hope of bringing the

value generated by Embed’s services in-house. The acquisition was a small, but important

component of WRS’s larger strategy to expand its business and secure the position of the exchange

it operated under the name FTX.US as an industry leader by providing business customers with

access to an integrated service platform for transactions involving a wide range of products,

including spot crypto, equities, crypto derivatives, and options.

       WRS first approached Embed about a potential transaction in March 2022. The parties

entered into an initial memorandum of terms the next month, and, following a diligence process

led by WRS’s outside counsel, Latham & Watkins LLP, the Merger Agreement was signed on

June 10, 2022. Plaintiffs make much of the agreed $220 million purchase price for a pre-revenue

company, denigrating it as “inflated.” That term is used from the viewpoint of bankrupt estates

faced with billions of dollars in claims and a challenging economic environment in which to

liquidate their assets, and is contradicted by Embed’s continued solvency following the FTX

bankruptcy. Plaintiffs’ contention that WRS overpaid for Embed falls apart completely when

viewed in context at the time of the transaction, which is when Embed’s value must be evaluated

for purposes of Plaintiffs’ claims. At the time the Merger Agreement was executed, the $220

million purchase price was a rounding error compared to the FTX Group’s reported aggregate

market value of approximately $40 billion, and even to FTX.US’s standalone $8 billion valuation.

It is hardly surprising that WRS was comfortable agreeing to a relatively small acquisition

following six weeks of diligence, particularly since Embed had only two years of history and other

potential buyers waiting in the wings, as well customers it had signed and potential customers in

the pipeline and $32 million in cash on hand, an amount sufficient to fund Embed’s operations




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indefinitely following the merger transaction without the need for additional capital from other

FTX companies.

           Moreover, as is true for any acquisition of a company, the purchase price needed to be

satisfactory to Embed’s existing shareholders. The Complaint3 derides the relevancy of this point,

but most of Embed’s investors had been with it since its inception in May 2020, so their views on

value were informed by more than two years of experience with Embed’s founder, Defendant

Michael Giles, and his team, and were based on a variety of factors that included, among other

things: the experience, skill, and dedication of the management team; the competitiveness of the

industry and market demand for Embed’s services; and the function, innovation, and scalability of

its products. Based on their familiarity with Embed and their knowledge of these factors, Embed’s

investors had ascribed a post-money valuation cap of $135 million to the company at the time of

its last capital raise announced in October 2021. The purchase price agreed to by WRS was

consistent with that valuation plus the investors’ expected return on investment.

           As a clearing and custodial broker-dealer, Embed Clearing was required to obtain the

consent of numerous regulatory bodies in connection with the merger. Mr. Giles was instrumental

in that process, which can often take six months to a year but was completed by the Embed team

at a breakneck pace of only three months due to the extraordinary efforts by Mr. Giles and the

Embed team. By September 30, 2022, all the necessary regulatory approvals were finally received.

WRS’s acquisition of Embed closed on that date without incident and Embed continued to operate

successfully and without any financial support from the other FTX companies until the

commencement of FTX’s bankruptcy cases.




3
    The Rocket Complaint and Giles Complaint name different defendants, but are otherwise substantially identical.




                                                           3
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       In November 2022, media reports of financial weakness created a frenzy among FTX

customers, who collectively sought to withdraw billions of dollars from their accounts. Unable to

fulfill the withdrawal requests, FTX filed for bankruptcy just nine days later, and allegations that

certain members of FTX’s leadership team had “misappropriated” (i.e., stolen) customer funds

from the international cryptocurrency exchange operated by FTX Trading Ltd. (which did business

as FTX.com) began to spread. It was, by all accounts, a “stunning collapse.”

       In an attempt to recoup as much value as possible from the chaos of the FTX collapse, the

Debtors have filed a flurry of adversary proceedings. Each of those complaints, including the one

filed against Defendants in this proceeding, contains the same general allegations regarding

fraudulent activities by members of the FTX leadership team with respect to FTX.com and that

entity’s customers, and broadly paints the entire FTX enterprise with the same patina of fraud. But

even if the allegations that individual insiders engaged in certain fraudulent or criminal practices

prove to be true, that does not mean that all business dealings by entities in the FTX Group were

also fraudulent. Indeed, the allegations in the Complaint itself (and repeated ad nauseam in other

filings by the Debtors) show the opposite. This adversary proceeding to avoid the Embed

acquisition—an arm’s length transaction with a legitimate business purpose—is a prime example

of the Debtors’ overreach. At its heart, the Complaint is premised on certain insiders’ alleged

misconduct, but fails to allege any plausible connection between that conduct and the Embed

acquisition. This failure creates a variety of fatal infirmities in every Count of the Complaint and,

as a consequence, the Complaint should be dismissed in its entirety for multiple independent

reasons.

       Outrageously, Plaintiffs assert over and over that the payments to Defendants were stolen

from FTX.com, but then pretend that FTX.com is not the true party with standing to recover those




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payments. Mirroring the very insider conduct they allege caused FTX’s collapse, the Plaintiffs

have omitted FTX.com as a plaintiff and disregard the initial transfer of funds from FTX.com to

Alameda when it suits them. Far from an accident, this decision appears to be an intentional

attempt to circumvent the Bankruptcy Code section 550(b) bar of avoidance claims against good

faith subsequent transferees. Despite Plaintiffs’ creative tactics, however, the applicability of

section 550(b) to each Defendant is clear from the face of the Complaint and dooms all of

Plaintiffs’ claims. The Complaint should be dismissed for the following reasons:

       First, the named Plaintiffs have no enforceable interest in the funds they seek to recover.

The Complaint unambiguously alleges that all of the money used to acquire Embed was part of

the roughly $8 billion in funds misappropriated from FTX.com customers by the FTX Insiders

through Alameda for use as a secret slush fund. Based on Plaintiffs’ own allegations, Alameda

had no entitlement to those funds, but served as a conduit to hide their source, which allowed the

FTX Insiders to use them for everything from private homes and jets to business investments made

through and by other FTX entities.       Although the Complaint alleges that the payments to

Defendants for the Embed acquisition share this common source, FTX.com is not a named plaintiff

in the Complaint (although it is in other adversary proceedings commenced by the Debtors).

Because the Complaint alleges that the funds transferred from Plaintiffs to Defendants were

actually property of FTX.com customers that Plaintiffs had no entitlement to hold or use, Plaintiffs

were mere conduits for those misappropriated funds and had no independent enforceable interests

in the property they seek to recover. Accordingly, their Complaint should be dismissed.

       Second, Plaintiffs’ claims are barred by Bankruptcy Code section 550(b) because

Defendants are subsequent transferees of the funds they received in connection with the Embed

acquisition and took those transfers for value and without knowledge of the avoidability of the




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initial transfer from FTX.com to Alameda. Based on Plaintiffs’ own allegations, the funds

Plaintiffs seek to recover were initially transferred from FTX.com to an Alameda bank account,

and then to WRSS and WRS bank accounts, before finally being transferred to Defendants via the

paying and escrow agent Western Alliance Bank as part of the Embed acquisition. Bankruptcy

Code section 550(b) protects subsequent transferees from liability for all avoidance claims if they

receive the transfer for value and in good faith without knowledge of the avoidability of the initial

transfer. Plaintiffs admit that each Defendant gave value in the form of equity interests in Embed

or employment with Embed.         Plaintiffs also allege that the FTX Insiders “surreptitiously”

orchestrated the initial transfers between FTX.com and Alameda in order to keep the transfers

secret even from other FTX employees. Defendants could not have had knowledge of the initial

transfer, or that it was avoidable. Because it is apparent from the face of the Complaint that

Defendants accepted their subsequent transfers for value and without knowledge that they were

benefitting from fraudulent activity, all of Plaintiffs’ claims against Defendants should be

dismissed as barred by section 550(b).

       Third, Plaintiffs’ claims for intentional fraudulent transfer should also be dismissed

because Plaintiffs’ fraud allegations have no connection to the Embed acquisition. In order to

prosecute a claim based on actual intent to hinder, delay, or defraud a creditor, Plaintiffs must

show that the alleged fraudulent intent is related to the transfers sought to be avoided. Here, none

of the fraud allegations in the Complaint relate to the transfers made to Defendants in connection

with the Embed acquisition. Instead, the fraud allegations concern the FTX Insiders’ fraudulent

misappropriation of funds from FTX.com customers and the imaginary loan of those funds by the

FTX Insiders to WRS in exchange for SAFEs from WRS. None of those fraudulent transfers were

“to or for the benefit of” Defendants. The transfers to Defendants were made by WRS in exchange




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for Embed. The Complaint alleges that the acquisition of Embed was for a legitimate business

purpose—“to provide FTX.US customers with the ability to trade stocks, in addition to

cryptocurrency, on the FTX.US exchange platform”—and does not allege any facts that show

WRS had an actual intent to defraud creditors in making those specific transfers.

        Fourth, Plaintiffs’ claims for constructive fraud should also be dismissed because the

Complaint fails to plead facts showing that WRS’s arm’s length acquisition of Embed and the

continued employment of key Embed employees resulted in the receipt of less than reasonably

equivalent value. Although the determination of reasonably equivalent value must be made at the

time of the transaction, Plaintiffs impermissibly rely on irrelevant allegations concerning events

that occurred not only after the closing of the Embed transaction, but also after the bankruptcy

filings of Plaintiffs and other FTX Group entities to establish the value of Embed.

        Fifth, even if Plaintiffs were to argue, and the Court were to assume arguendo, that

Defendants are initial transferees of WRS, Plaintiffs’ section 548(a)(1)(B) claim for constructive

fraudulent transfer and actual and constructive fraudulent transfer claims under Delaware state law

would still be barred by at least two safe harbors under Bankruptcy Code section 546(e). The

transfers from WRS to Defendants are both (i) “transfer[s] made by or to (or for the benefit of)

a . . . financial institution . . . in connection with a securities contract, as defined in section 741(7);”

and (ii) “settlement payment[s], as defined in section 101 or 741 of this title, made by or to (or for

the benefit of) a . . . financial institution.”

        Sixth, Plaintiffs’ claims with respect to post-closing retention payments to certain Embed

employees should also be dismissed because no such payments have been made and any future

obligation to make such payments lies with Embed, a non-Debtor.




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           Seventh, Plaintiffs’ preference claim with respect to the retention payment made to Mr.

Giles should also be dismissed because the retention payment was not made on account of an

antecedent debt. The obligation to make the retention payment to Mr. Giles arose, and was

satisfied, on September 30, 2022, when the Embed acquisition closed. Where, as here, “there is

no delay between when the debt arises and payment of the obligation,” the transfer is, by definition,

not on account of an antecedent debt and “outside the scope of § 547(b).” Hechinger Invest. Co.

of Del., Inc. v. Universal Forest Prods., Inc. (In re Hechinger Inv. Co. of Del., Inc.), 489 F.3d 568,

574 (3d Cir. 2007).

           Eighth, Plaintiffs’ claims to recover transferred funds under section 550(a)(1) and disallow

claims pursuant to section 502(d) should also be dismissed because, for all the reasons summarized

above, Plaintiffs have failed to adequately allege facts showing Defendants have received any

transfers that are recoverable or avoidable.

           For these and all the other reasons herein, the Complaints in both Adv. Pro. No. 23-50379

and Adv. Pro. No. 23-50380 should be dismissed with prejudice.4

                                          FACTUAL BACKGROUND

I.         Plaintiffs Alameda, WRS, And WRSS

           Samuel Bankman-Fried and Zixiao “Gary” Wang co-founded Plaintiff Alameda Research

Ltd., a cryptocurrency trading firm. ¶¶ 3, 14, 17;5 Main Case D.I. 1242-1 at 3. Caroline Ellison

was Alameda’s co-CEO from August 2021 to September 2022, when she became Alameda’s sole

CEO and director. ¶ 15. Messrs. Bankman-Fried, Wang, and Nishad Singh founded Plaintiff

WRS. ¶¶ 14, 16-17. Mr. Bankman-Fried was the CEO and sole director of WRS. ¶ 14. Plaintiff


4
 To the extent applicable, Defendants join in and incorporate by reference the arguments made in the motions to
dismiss filed by the other defendants named in the Complaints.
5
    Freestanding cites to “¶ _” refer to paragraphs of the Giles Complaint.




                                                             8
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WRSS, a WRS subsidiary that did business as FTX.US, was a cryptocurrency exchange for U.S.

customers. ¶¶ 3, 11.

II.      Non-Party FTX Trading Ltd. (FTX.com)

         Messrs. Bankman-Fried and Wang founded non-party FTX Trading Ltd. d/b/a FTX.com,

an international cryptocurrency exchange. Main Case D.I. 1242 at 4.

III.     The Rapid Growth Of The FTX Group

         Plaintiffs Alameda, WRS, and WRSS were part of what Plaintiffs have dubbed the “FTX

Group.” ¶ 5. The so-called FTX Group is “comprised of four silos,” which Plaintiffs describe as

“(a) a group composed of Plaintiffs and Debtors WRS, WRSS, and their Debtor and non-Debtor

subsidiaries; (b) a group composed of Plaintiff and Debtor Alameda, Debtor Alameda Research

LLC, and their Debtor subsidiaries; (c) a group composed of Debtor Clifton Bay Investments LLC,

Debtor Clifton Bay Investments Ltd., Debtor Island Bay Ventures Inc., and Debtor FTX Ventures

Ltd.; and (d) a group composed of Debtor FTX Trading Ltd. and its Debtor and non-Debtor

subsidiaries.” ¶ 5 n.4. Non-party FTX Trading Ltd. is in a different silo than the Plaintiffs. Id.

         Fueled by investor enthusiasm for digital currencies and rapid user proliferation, the “FTX

Group” experienced meteoric growth. See generally Main Case D.I. 24 ¶ 35. By July 2021, FTX

Group entities had raised $900 million in equity funding at an $18 billion valuation, with funding

from “prominent investors” including venture capital firms Softbank Group and Sequoia Capital,

hedge-fund Third Point, private equity firm Thoma Bravo, and hedge-fund billionaires Israel

Englander, Alan Howard, and Paul Tudor Jones.6 In January 2022, FTX Group announced it had

closed a $400 million capital raise at a $32 billion valuation, with funding from leading venture



6
 Alexander Osipovich, Crypto Exchange FTX Valued at $18 Billion in Funding Round, Wall St. J. (July 20, 2021),
https://tinyurl.com/2hcc7bkr. Pdf or hard copies of this and other publicly available material cited herein are available
upon request to Defendants’ counsel.




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capital and private equity firms, including Temasek, Paradigm, SoftBank Vision Fund 2,

Lightspeed Venture Partners, Steadview Capital, Tiger Global, and Insight Partners.7

           FTX Group entities also established numerous high-profile business relationships. In 2021

alone, for example, FTX Group entities (i) completed a $135 million, 19-year deal to buy the

naming rights to the home of the Miami Heat basketball team; (ii) completed a deal in which

football quarterback Tom Brady became an FTX “ambassador” and both he and his then-wife,

supermodel Gisele Bündchen, took equity stakes in certain FTX Group entities; and (iii) completed

a deal with Major League Baseball to become the “Official Cryptocurrency Exchange brand of

MLB,” with FTX branding displayed on all umpire uniforms within the league.8

           In February 2022, Congress invited Mr. Bankman-Fried to testify in support of enhanced

crypto market regulation.9 Mr. Bankman-Fried was viewed as an industry leader who “worked to

enhance standards, disclosure, oversight, and customer protection in the crypto industry.” Main

Case D.I. 1242-1 at 1.

           Mr. Bankman-Fried stated publicly that FTX was “prepared to spend billions of dollars to

buy stakes in companies as it looks to grow the suite of products it offers customers.”10 By

November 2022, FTX Group had acquired more than 150 entities,11 “operated in 250 jurisdictions,




7
    See FTX Trading Ltd. Closes $400M Series C Round, PR Newswire (Jan. 31, 2022), https://tinyurl.com/mpte89y6.
8
 Alexander Osipovich, Crypto Exchange FTX Valued at $18 Billion in Funding Round, Wall St. J. (July 20, 2021),
https://tinyurl.com/2hcc7bkr; Zack Seward, FTX Strikes Sponsorship Deal with MLB, Umpires to Wear Crypto
Exchange’s Logo, CoinDesk (June 23, 2021), https://tinyurl.com/bdfca6t5.
9
   David Yaffe-Bellany, A Crypto Emperor’s Vision: No Pants, His Rules, N.Y. Times (May 14, 2022),
https://tinyurl.com/9zy5pn7c.
10
  Allyson Versprille & Yuegi Yang, Crypto Giant FTX Ready with Billions of Dollars for Acquisitions, Bloomberg
(May 27, 2022), https://tinyurl.com/bdda75js.
11
   See Becky Yerak, FTX Seeks to Claw Back $240 Million From Embed Acquisition, Wall St. J. (May 18, 2023),
https://tinyurl.com/36tj3dzb.




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controlled tens of billions of dollars of assets across its various companies, engaged in as many as

26 million transactions per day, and had millions of users.” Main Case D.I. 1242-1 at 10.

IV.     WRS Acquires Embed To Expand The FTX.US Exchange Platform To Encompass
        Trading Of Traditional Securities

        In March 2022, the FTX Insiders turned their sights to Embed, a company founded by

Defendant Michael Giles, in order to provide U.S. customers with the ability to not only trade

cryptocurrency, but also conventional securities such as stock, on the FTX.US exchange platform

operated by WRS. ¶¶ 3-4, 28, 37.12

        A.       On June 10, 2022, WRS And Embed Enter Into A Merger Agreement

        On June 10, 2022, WRS and Embed executed an “Agreement and Plan of Merger” under

which WRS would acquire Embed and its subsidiary Embed Clearing LLC, a FINRA, DTC,

NSCC, Nasdaq, and IEX member clearing firm. ¶ 38; Ex.13 1 (Merger Agreement) §§ 2.1-2.2.

        The Merger Agreement contemplated a reverse triangular merger transaction in which a

WRS subsidiary would merge into Embed, which would in turn become a subsidiary of WRS on

the closing date of September 30, 2022. ¶ 5; Ex. 1 §§ 2.1(a), 2.3. The Merger Agreement provided

for payment of $220,000,000 in merger consideration to holders of Embed Equity Interests (subject

to various adjustments). Ex. 1 §§ 3.1(c), 3.6. WRS entered into both an exchange agreement and

escrow agreement with Western Alliance Bank, which acted as WRS’s depository and distributor

of the merger consideration and escrow agent for the merger transaction. Id. §§ 3.2(a), 3.2(f); Ex.

4 (Merger Agreement, Annex J, Form of Escrow Agreement) ¶¶ 2-4.




12
   See also FTX US Acquires Clearing Firm Embed to Enhance FTX Stocks, PR Newswire (June 21, 2022),
https://tinyurl.com/2mjffwmu.
13
 Freestanding cites to “Ex. _” refer to exhibits of the Declaration of Lucian B. Murley in Support of Defendants’
Motion to Dismiss the Complaints, dated August 15, 2023.




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       The Merger Agreement also provided that certain employees would receive retention

payments as an incentive to remain with Embed until the acquisition closed or afterward. Id. §

7.3. For Mr. Giles, WRS promised a retention payment of $55,000,000 at closing (September 30,

2022), provided that he stayed with Embed through closing. Id.; ¶ 5; Ex. 3 (Merger Agreement,

Annex L-1, Form of Retention Incentive Award Agreement and Giles Retention Incentive Award

Agreement) ¶ 2. For other key Embed employees, WRS promised that, following the closing of

the merger transaction, it would cause non-Debtor “[Embed] (or, if applicable, another member of

the FTX Group) to pay or cause to be paid . . . the Retention Incentive Payment,” Ex. 2 (Merger

Agreement, Annex L-2, Form of Retention Incentive Award Agreement) ¶ 1, provided the

employees remained with Embed for at least two years following closing, with the payments being

made in five installments starting on September 30, 2023. ¶ 47.

       In a June 21, 2022 press release, FTX US’s President Brett Harrison praised Embed’s

technology and infrastructure and explained the rationale for acquiring Embed:

       “As I mentioned when we launched FTX Stocks, our new equities and ETF trading
       platform, our goal at FTX is to provide a comprehensive trading application that
       spans all asset classes. For equities and options trading this necessarily includes
       services such as clearing and custody, and our partnership with Embed showed us
       that they have built excellent technology and infrastructure to provide these
       services. We’re looking forward to working together to integrate both our teams
       and our technology as we continue to build FTX Stocks.” The acquisition signals
       the Company’s intention to expand the financial services it offers to US customers,
       and will enable it to route, execute, clear, and custody all customer equities and
       options accounts and trades through use of Embed’s infrastructure and licensure.
       In addition, Embed and FTX US share a common goal to provide whitelabel
       brokerage services to other businesses, applications, and customers.14




14
    FTX US Acquires Clearing Firm Embed to Enhance FTX Stocks, PR Newswire (June 21, 2022),
https://tinyurl.com/2mjffwmu.




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           B.       On September 30, 2022, The Merger Transaction Closes

           On September 30, 2022, the merger transaction closed. ¶ 38. Western Alliance Bank paid

holders of Embed Equity Interests their respective shares of the merger consideration, Embed

became a WRS subsidiary, and Mr. Giles was provided his retention payment. ¶¶ 5, 38, 45, 47;

Ex. 1; Ex. 4 ¶ 4. Although Mr. Giles only needed to remain employed through September 30,

2022, to receive his retention payment, ¶ 45; Ex. 1 § 7.3; Ex. 3 ¶ 2, he continued his employment

with Embed until Embed terminated him on May 16, 2023, two days before the filing of these

adversary proceedings. Most of the other Defendants who were employees of Embed were also

terminated at this time.

V.         The Abrupt Collapse Of The FTX Group In November 2022

           In November 2022, the FTX Group experienced a “stunning collapse.” Main Case D.I.

1242-1 at 1. Media reports of financial weakness at Alameda15 created a frenzy among FTX

exchange customers, who sought to withdraw over $5 billion from their accounts, resulting in a

halt of trading.16 The inability of the FTX exchanges to fulfill customer withdrawal requests

“shocked crypto investors and badly tarnished the reputation of Mr. Bankman-Fried, who had

embraced regulation of digital currencies and branded himself as a crypto entrepreneur driven by

ethics and philanthropy.”17

           On November 11, 2022, numerous FTX Group entities filed for bankruptcy, Main Case

D.I. 1, “upend[ing] crypto markets” and “sen[ding] shock waves through [the] industry.”18


15
  See, e.g., Ian Allison, Divisions in Sam Bankman-Fried’s Crypto Empire blur on His Trading Titan Alameda’s
Balance Sheet, CoinDesk (Nov. 2, 2022), https://tinyurl.com/398275au.
16
  Vicky Huang et al., FTX Tapped into Customer Accounts to Fund Risky Bets, Setting Up Its Downfall, Wall St. J.
(Nov. 11, 2022), https://tinyurl.com/y72nxjd9.
17
     Id.; See also Main Case D.I. 1232 at 1.
18
   David Yaffe-Bellany, Embattled Crypto Exchange FTX Files for Bankruptcy, N.Y. Times (Nov. 11, 2022),
https://tinyurl.com/2v2ykk5e.




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Although the various Debtors’ chapter 11 cases are being jointly administered, the cases are not

substantively consolidated. Main Case D.I. 3 ¶ 12.

VI.     The U.S. Government Charges The FTX Insiders With Fraud

        Messrs. Bankman-Fried, Wang, and Singh and Ms. Ellison have been charged with various

crimes, including that they used Alameda to misappropriate funds of FTX.com customer funds.19

¶¶ 29-30, 67. Mr. Wang and Ms. Ellison have pled guilty to various counts of conspiracy to

commit fraud, and Mr. Singh has pled guilty to various counts of fraud. ¶ 29. Mr. Bankman-Fried

has not pled guilty to any charges and faces a criminal trial. Id. None of the criminal indictments

or pleas reference the Embed transaction.

VII.    The FTX Debtors Initiate A Slew Of Adversary Proceedings

        In an attempt to recoup money for the estates, the Debtors have undertaken efforts to sell

assets of FTX Group entities. For example, the Debtors sold LedgerX, a derivatives exchange

acquired for $298 million in 2021, for $50 million. See generally Main Case D.I. 1433, Ex. A §

1.1.

        To date, at least nine adversary proceedings have been commenced seeking amounts

ranging from $3 million to $300 million for alleged fraudulent transfers and preference claims.20

The adversary proceedings attack previous payments to entities and individuals such as former

employees, venture capital firms, private equity firms, and other crypto entities, among others, as

preferences.




19
  See Superseding Indictment, United States v. Bankman-Fried, No. 22-cr-00673 (S.D.N.Y. Mar. 28, 2023), D.I. 115;
Waiver of Indictment, United States v. Bankman-Fried, No. 22-cr-00673 (S.D.N.Y. Dec. 19, 2022), D.I. 7; Waiver of
Indictment, United States v. Bankman-Fried, No. 22-cr-00673 (S.D.N.Y. Dec. 28, 2022), D.I. 91; Waiver of
Indictment, United States v. Bankman-Fried, No. 22-cr-00673 (S.D.N.Y. Dec. 19, 2022), D.I. 9 ¶ 67.
20
 See Case No. 23-50084; Case No. 23-50411; Case No. 23-50419; Case No. 23-50437; Case No. 23-50444; Case
No. 23-50448; Case No. 23-50379; Case No. 23-50380; Case No. 23-50381.




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       FTX Trading Ltd., a non-party here, is the named plaintiff in a number of the adversary

proceedings where the FTX Insiders are alleged to have misappropriated funds of FTX.com

customer funds. For instance, in Case No. 22-11068, FTX Trading Ltd. seeks to unwind certain

transactions on the ground that the FTX Insiders “defrauded FTX.com’s customers, creditors and

shareholders” by, among other things, funneling “approximately $71.6 million” into the

challenged transactions with funds coming “directly . . . from . . . FTX [Trading Ltd.].” Case No.

23-50444 D.I. 1 ¶¶ 35-36, 54. Similarly, in Case No. 23-50145, FTX Trading Ltd. alleges that

several of the transfers made by FTX Trading Ltd. to another FTX subsidiary, FTX DM, should

be avoided as fraudulent because FTX Trading Ltd. did not receive reasonably equivalent value in

exchange for the funds transferred from FTX Trading Ltd. Case No. 23-50145 D.I. 1 ¶ 26.

VIII. The Three Adversary Proceedings Relating To The Embed Acquisition

       On May 17, 2023, Plaintiffs commenced three adversary proceedings relating to the Embed

acquisition. Two are against Embed’s former holders of Embed Equity Interests, Adv. Pro. Nos.

23-50379 and 23-50380. One of those two is also filed against former employees of Embed. 23-

50380. The third is against the FTX Insiders. Adv. Pro. No. 23-50381. Aside from naming

different defendants, the Complaints in each case are substantively identical.

       Plaintiffs seek to recover money allegedly misappropriated from FTX.com customers. ¶¶

52-55. Plaintiffs allege that, through a series of transactions, the FTX Insiders took approximately

$8 billion in funds belonging to FTX.com customers and moved them to an Alameda bank account,

a portion of which then flowed to a WRSS bank account and then to a WRS bank account, before

finally being paid to Defendants in exchange for Embed. ¶¶ 33, 52. Plaintiffs seek to avoid all

transfers and obligations to Defendants in connection with the Embed transaction, ¶¶ 70, 74, 80,

85; Giles Compl. Ex. A; Rocket Compl. Ex. A, on the grounds that they were actual fraudulent

transfers, ¶¶ 69-72, 78-82 (Counts I and III of the Complaint), or constructively fraudulent



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transfers, ¶¶ 73-77; 83-89 (Counts II and IV). Plaintiffs also seek recovery of the retention

payment made to Mr. Giles as a preferential transfer, ¶¶ 90-100 (Count V), the return of all

payments to Defendants that are avoided under Counts I through V, ¶¶ 101-03 (Count VI), and the

disallowance of all claims held by Defendants against any Debtor pending their return of any

avoided transfers ¶¶ 104-06 (Count VII).21

        Despite alleging that the funds transferred to Defendants originated with FTX.com and

were transferred to and through various other FTX Group entities that had no entitlement to them

before they were ultimately transferred to Defendants, ¶¶ 52-55, FTX.com is not named as a

plaintiff, and Plaintiffs allege that “Defendants are the initial transferees or the entities for whose

benefit such transfers were made.” ¶ 103.

                                          LEGAL STANDARDS

        When presented with a Rule 12(b)(6) motion to dismiss, a court is guided by two “working

principles” in evaluating the sufficiency of the factual allegations in a complaint. Liquidation

Trust v. Uphold HQ Inc. (In re Cred Inc.), 650 B.R. 803, 812-13 (D. Del. 2023) (citations omitted).

        “First, the tenet that a court must accept as true all of the allegations contained in a

complaint is inapplicable to legal conclusions. Threadbare recitals of the elements of a cause of

action, supported by mere conclusory statements, do not suffice.” Id. at 813 (citations omitted).

Although well-pleaded facts should be accepted as true, a court need not accept “‘unsupported

conclusions and unwarranted inferences,’ or ‘a legal conclusion couched as a factual allegation,’”

Baraka v. McGreevey, 481 F.3d 187, 195 (3d Cir. 2007) (citations omitted), or “allegations that

are contradicted by other allegations in the [complaint].” Talley v. Christiana Care Health Sys.,




21
  Because Count V in the Giles Complaint is directed solely against Mr. Giles, who is not a named defendant in the
Rocket action, Rocket Complaint Counts V and VI are the counterparts to Giles Complaint Counts VI and VII.




                                                       16
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2018 WL 4938566, at *5 n.4 (D. Del. Oct. 11, 2018). Moreover, the court may consider

“‘documents incorporated into the complaint by reference and matters of which a court may take

judicial notice[,]’” Off. Comm. of Unsecured Creditors of Champion Enters. Inc. v. Credit Suisse,

(In re Champion Enters., Inc.), 2010 WL 3522132, at *4 n.7 (Bankr. D. Del. Sept. 1, 2010) (citing

Tellabs, Inc. v. Makor Issues & Rights, Ltd., 551 U.S. 308, 322 (2007)), and need not accept as

true allegations in the complaint contradicted by such documents. See James Cable, LLC v.

Millennium Digital Media Sys., LLC (In re Broadstripe, LLC), 435 B.R. 245, 254 n.31 (Bankr. D.

Del. 2010); Byers v. Intuit, Inc., 2009 WL 948651, at *2 (E.D. Pa. Mar. 18, 2009); Nat’l Distillers

& Chem. Corp. v. Dep’t of Energy, 1980 WL 1057, at *1 (D. Del. Oct. 23, 1980).

       “Second, only a complaint that states a plausible claim for relief survives a motion to

dismiss. . . . [A] complaint must do more than allege the plaintiff’s entitlement to relief. A

complaint has to ‘show’ such an entitlement with its facts.” In re Cred Inc., 650 B.R. at 813

(citations omitted). For claims that are not based on alleged fraud, the court must consider whether

the complaint satisfies the pleading requirements of Fed. R. Civ. P. 8(a)—i.e., whether the facts

alleged in a complaint are sufficient to show that a plaintiff has a “plausible claim for relief.”

Ashcroft v. Iqbal, 556 U.S. 662, 679 (2009). Determining whether a claim is plausible is “a

context-specific task that requires the reviewing court to draw on its judicial experience and

common sense.” Id. “A plausible claim does more than merely allege entitlement to relief; it must

also demonstrate the basis for that ‘entitlement with its facts.’” Parkell v. Lyons, 2019 WL

1435885, at *1 (D. Del. Mar. 31, 2019). A plaintiff’s “obligation to provide the grounds of his

entitlement to relief requires more than labels and conclusions, and a formulaic recitation of a

cause of action’s elements will not do.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007)

(cleaned up). Rather, a plaintiff bears the burden of “plead[ing] factual content that allows the




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court to draw the reasonable inference that the defendant is liable for the misconduct alleged.”

Iqbal, 556 U.S. at 678.

       For claims based on alleged fraud, the court must consider whether the complaint satisfies

“Rule 9(b)’s more rigorous pleading requirement,” Purpura v. JP Morgan Chase, 2018 WL

1837952, at *9 (D.N.J. Apr. 18, 2018); see also Giuliano v. Ferdinand (In re Liquid Holdings

Grp., Inc.), 2018 WL 2759301, at *6 (Bankr. D. Del. June 6, 2018), under which a plaintiff must

“state with particularity the circumstances constituting fraud.” Fed. R. Civ. P. 9(b); see also Miller

v. SWZ Fin. II, LLC (In re United Tax Grp., LLC), 2018 WL 1135496, at **2, 8-9, n.55 (Bankr.

D. Del. Feb. 28, 2018) (finding allegations related to fraudulent conveyance claims insufficient to

satisfy Rule 9(b)); Off. Comm. of Unsecured Creditors of Fedders N. Am., Inc. v. Goldman Sachs

Credit Partners L.P. (In re Fedders N. Am., Inc.), 405 B.R. 527, 544 (Bankr. D. Del. 2009)

(“Federal Rule of Civil Procedure 9(b) requires those asserting fraudulent transfer claims in

bankruptcy proceedings to plead them with specificity.”); OHC Liquidation Trust v. Nucor Corp.

(In re Oakwood Homes Corp.), 325 B.R. 696, 699 (Bankr. D. Del. 2005) (granting motion to

dismiss because “[o]ther than merely identifying the allegedly fraudulent transfers . . . the

Complaint fails to allege with [Rule 9(b)] specificity any facts in support of the fraudulent transfer

claim.”). “[B]oilerplate and conclusory allegations will not suffice. Plaintiffs must accompany

their legal theory with factual allegations that make their theoretically viable claim plausible.”

Burtch v. Opus, L.L.C. (In re Opus E., L.L.C.), 480 B.R. 561, 573 (Bankr. D. Del. 2012) (citation

omitted); see also Symonies v. Sobol (In re Sobol), 545 B.R. 477, 500 (Bankr. M.D. Pa. 2016)

(dismissing complaint because plaintiff’s claim was only supported by “a conclusory statement

with no supporting factual allegations”).




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                                            ARGUMENT

I.      The Complaint Should Be Dismissed In Its Entirety Because The Named Plaintiffs
        Have No Enforceable Interest In The Funds They Seek To Recover

        As a predicate to avoiding any transfer for actual or constructive fraud or a preferential

transfer, a trustee or debtor-in-possession (i.e., the party bringing the suit) must first establish that

the debtor (i.e., the individual or entity whose estate is at issue) had an enforceable, and not merely

transient, interest in the transferred property. See 11 U.S.C. § 548(a)(1) (“The trustee may avoid

any transfer . . . of an interest of the debtor in property . . .”) (emphasis added); 11 U.S.C. § 544

(“The trustee shall have . . . the rights and powers of, or may avoid any transfer of property of the

debtor . . .”) (emphasis added); Halperin v. Moreno (In re Green Field Energy Servs., Inc.), 2018

WL 6191949, at *37 (Bankr. D. Del. Nov. 28, 2018) (“[T]he Court must first decide the threshold

question whether the Trustee has demonstrated a transfer of an interest in Debtor’s property in a

manner that may be avoidable.”).

        Here, the Complaint makes passing references to “Plaintiffs’ present or future creditors,”

¶¶ 81, 93 (emphasis added), but is devoid of any factual allegations showing that Plaintiffs or their

present or future creditors have an enforceable interest in the funds transferred to Defendants in

connection with the Embed acquisition. Instead, the Complaint unambiguously alleges that all the

money WRS used to fund the Embed acquisition was misappropriated from FTX.com:

        [A]ll of the funding from the Embed acquisition came from Alameda, which, at the
        FTX Insiders’ direction, had surreptitiously and unlawfully diverted and transferred
        assets belonging to FTX.com.

¶ 27 (emphasis added); see also id. (“by causing Alameda to take money belonging to FTX.com

and spend it on the FTX Insiders’ pet projects, the FTX insiders defrauded FTX.com’s creditors,

including customers and investors.”) (emphasis added); ¶ 31 (“In reality, however, the FTX

insiders routinely, and secretly, used Alameda to loot ‘several billion dollars’ from FTX.com using




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the ‘special privileges,’ thereby defrauding FTX.com’s creditors, including customers and

investors.”) (emphasis added); ¶ 53 (“All of the money came from Alameda, which by this time

had been used by the FTX insiders to misappropriate billions of dollars from FTX.com.”).

       Because the Complaint alleges that the money used to fund the Embed acquisition was

misappropriated from FTX.com customers without their knowledge and without requisite

authority—i.e., the funds were stolen—those customers could not have intended to transfer title to

or possession of the funds to the Plaintiffs. ¶¶ 27, 31, 53, 81. Thus, unlike a Ponzi scheme where

investors voluntarily transfer funds to a bad actor under false pretenses, title to customer funds

held at FTX.com never passed to the Plaintiffs. Courts have distinguished these two scenarios and

held that, where a victim’s funds were stolen by a debtor before its bankruptcy filing, the debtor’s

estate holds no interest in them. See, e.g., Kitchen v. Boyd (In re Newpower), 233 F.3d 922, 929-

31 (6th Cir 2000) (citing the principle, “long established at common law, that a thief has no title

in the property that he steals” and, therefore, “[t]here is no basis for a constructive trust as to the

stolen property in the hands of the thief because of his lack of a property interest”) (citations

omitted). Because the funds misappropriated from FTX.com’s customers are not property of the

Plaintiff’s estates, only FTX.com—a non-party to this proceeding—and its customers and

creditors have a legitimate interest in the money used to fund the Embed acquisition.

       Plaintiffs cannot claim to have an enforceable interest in the misappropriated funds of

FTX.com customers by virtue of their affiliation with what they have dubbed the “FTX Group.”

As the Debtors made clear in their motion to authorize the joint administration of the FTX Debtors’

Chapter 11 estates, “joint administration of these Chapter 11 Cases will not adversely affect the

Debtors’ respective creditors because this Motion requests only administrative, and not

substantive, consolidation of the Debtors’ estates.” Main Case D.I. 3 ¶ 12; see In re H.H. Distribs.,




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L.P., 400 B.R. 44, 53 (Bankr. E.D. Pa. 2009) (“Substantive consolidation merges the assets and

liabilities of the debtors into a unitary debtor estate with all the cumulative assets and liabilities[.]

The result is that all claim holders must look to the consolidated entity for their distribution.”); id.

at 53 n. 15 (“Substantive consolidation differs from procedural consolidation, more commonly

known as joint administration, in that the latter does not effect the substantive rights of creditors

or their respective debtor estates but rather is a tool of administrative convenience and cost

efficiency”); see also Transp., Inc. v. Kahn (In re Hemingway Transp.), 954 F.2d 1, 11-12 (1st Cir.

1992).

         Absent substantive consolidation, the joint administration of the Debtors’ Chapter 11

estates is not sufficient to confer standing on Alameda, WRS, or WRSS to pursue claims on behalf

of FTX.com or FTX.com’s creditors. Nor does it circumvent the requirement that, as Plaintiffs in

this case, Alameda, WRS, and WRSS must adequately allege a specific and traceable interest in

the transferred property at issue. See Snyder v. Biros (In re U Lock, Inc.), 2023 WL 4678609, at

*9 (Bankr. W.D. Pa. July 21, 2023) (granting motion to dismiss with prejudice because the

petitioner “stated no claim for relief because . . . the Trust [had not] received a ‘transfer of an

interest of the debtor’ in the Property.”); Harden v. Harrison (In re Harrison), 627 B.R. 832, 839

(Bankr. E.D. N.C. 2021) (dismissing adversary proceeding because the complaint failed to allege

facts showing that the plaintiff had an interest in the property transferred to the defendants).

         Because they have no interests in the funds they seek to recover, Plaintiffs cannot obtain

avoidance of transfers on the grounds of actual or constructive fraud (Counts I-IV), recover the

retention payment to Mr. Giles as a preferential transfer (Counts V), obtain the return of the

transferred funds under 11 U.S.C. § 550 (Count VI), or seek the disallowance of claims under 11

U.S.C. § 502 (Count VII). The Complaint should therefore be dismissed in its entirety.




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II.     The Complaint Should Be Dismissed In Its Entirety Because All Of Plaintiffs’ Claims
        Against Defendants Are Barred By Bankruptcy Code Section 550(b)

        As discussed above, Plaintiffs’ own allegations demonstrate that the only Debtor with a

property interest in the funds paid to Defendants, and the only Debtor with standing to pursue the

claims to avoid and recover those payments, is FTX.com. Debtors’ decision to exclude FTX.com

as a named plaintiff here would be puzzling, were it not for the legal hurdle that Plaintiffs seek to

avoid. By properly analyzing the transfers to Defendants by beginning with the initial transfer of

those funds from FTX.com to Alameda, it is apparent that Defendants are each subsequent

transferees of FTX.com within the scope of Bankruptcy Code section 550(b), rather than initial

transferees of one or more of the Plaintiffs subject to section 550(a)(1). This shift in where the

initial transfer is deemed to occur is fatal to all of the claims asserted in the Complaint. Plaintiffs

admit, as they must, that each Defendant gave value in the form of their equity interests in Embed

or continued employment with Embed. In addition, Plaintiffs allege that the FTX Insiders kept

the initial transfers between FTX.com and Alameda a secret even from other FTX employees,

meaning that Defendants could not have had knowledge of the initial transfers much less that they

were avoidable.

        In an apparent effort to circumvent the protections of section 550(b), Plaintiffs have

omitted FTX.com as a party to this action and pretend that Alameda, WRSS, or WRS (it is unclear

which) is the initial transferor. But while a plaintiff need not avoid every transfer in a chain of

transfers in order to seek to recover those transfers from the ultimate transferee, it cannot arbitrarily

decide to ignore the initial transfer of a debtor’s interest in property to pursue meritless claims

against good faith transferees.

        Notwithstanding Plaintiffs’ sleight-of-hand in omitting the initial transfer from their

claims—a tactic that is uncomfortably reminiscent of the FTX Insiders’ own treatment of




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FTX.com’s property—it is clear from the face of the Complaint that Defendants are good faith

subsequent transferees under section 550(b). Accordingly, all of Plaintiffs’ claims are a barred by

Bankruptcy Code section 550(b) and the Complaint should be dismissed in its entirety.

       A.      Plaintiffs’ Own Allegations Confirm That Defendants Are Subsequent
               Transferees, Not Initial Transferees Subject to Section 550(a)(1)

       Because FTX Trading Ltd. (d/b/a FTX.com) is the only Debtor with a property interest in

the funds transferred to Defendants, any analysis of the claims to avoid those transfers must

necessarily begin with the transfer from FTX.com.            Based on Plaintiffs’ own allegations,

Defendants are subsequent transferees rather than initial transferees. Indeed, Plaintiffs’ conclusory

assertion that “Defendants are the initial transferees or the entities for whose benefit such transfers

were made,” ¶ 103, is belied by their repeated allegations in the Complaint that the funds at issue

were “surreptitiously” transferred from FTX.com to an Alameda bank account, in the first instance,

and then to WRSS and WRS bank accounts, before finally being transferred to Defendants as part

of the Embed acquisition. ¶¶ 27, 31, 53, 81.

       Section 550(a)(1) provides that a trustee may recover property transferred in an avoided

transaction from “the initial transferee of such transfer or the entity for whose benefit such transfer

was made.” 11 U.S.C. § 550(a)(1). Here, however, the payments to Defendants were multiple

steps removed from the initial transfers from FTX.com. The initial (and only avoidable) transfers

in the chain were clearly not made by FTX.com “to” Defendants. Nor, based on Plaintiffs’

allegations, were those transfers made by FTX.com “for the benefit of” Defendants.                The

Complaint clearly alleges that neither FTX.com nor Defendants were even aware of the transfers,

and that the FTX Insiders orchestrated the initial transfer of funds from FTX.com to Alameda in

secret for the FTX Insiders’ own benefit. ¶ 30 (“[T]he FTX Insiders frequently caused Alameda

to misappropriate funds from the FTX exchanges for their own benefit, including to make




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acquisitions like Embed.”) (emphasis added); ¶ 49 (“[T]the FTX Insiders created false and

misleading records suggesting that the funding for the Embed acquisition by WRS had come

personally from Bankman-Fried, Singh, and Wang, even though the funds used to acquire Embed

had been transferred from an Alameda bank account to a WRSS bank account and ultimately to a

WRS bank account. The FTX Insiders did this to justify transferring to themselves WRS shares,

which they expected to appreciate in value as a result of the Embed acquisition.”); ¶ 68 (“The

transfers were part of a scheme to enrich and otherwise benefit the FTX Insiders”).

       Because the initial avoidable transfer was not made by FTX.com to Defendants or for their

benefit, Defendants are all subsequent transferees, not initial transferees subject to section

550(a)(1).

       B.      Plaintiffs’ Own Allegations Confirm That Defendants Are Good Faith
               Subsequent Transferees Within The Scope Of Section 550(b)

       Plaintiffs’ claims to recover transfers from Defendants as subsequent transferees are

governed by section 550(b), which protects good faith subsequent transferees from liability for all

avoidance claims, including claims to avoid actual fraudulent transfers under section 548(a)(1)(B)

and preference claims. 11 U.S.C. § 550(b). In recognition that a subsequent transferee is much

more likely to be an innocent party than a direct transferee of a bad actor-turned-debtor, the

statutory language of section 550(b) is markedly different from that in section 548(c).

       Under section 548(c), a good faith initial transferee can retain a transferred interest only to

the extent of value given, but is otherwise still liable for and subject to an avoidable transfer claim:

“a transferee or obligee . . . that takes for value and in good faith has a lien on or may retain any

interest transferred or may enforce any obligation incurred . . . to the extent that such transferee or

obligee gave value to the debtor in exchange for such transfer or obligation.” 11 U.S.C. § 548(c).




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       By contrast, section 550(b) provides a complete bar to the trustee’s ability to recover from

a good faith transferee and is not limited to the extent of value given: “[T]he trustee may not

recover under section (a)(2) of this section [permitting recovery of avoided transfers from

subsequent transferees] from—(1) a transferee that takes for value, including satisfaction or

securing of a present or antecedent debt, in good faith, and without knowledge of the voidability

of the transfer avoided.” 11 U.S.C. § 550(b)(1).

       Here, the Complaint clearly alleges that Defendants gave value in exchange for the Embed

consideration they received and were not aware of the secret initial transfers between FTX.com

and Alameda, much less that those transfers were avoidable. Specifically, Plaintiffs admit that, in

exchange for the payments they received, each Defendant gave value in the form of their equity

interests in Embed and/or their labor. ¶ 38. In addition, the Complaint alleges that the FTX

Insiders “surreptitiously” orchestrated the initial transfers between FTX.com and Alameda, and

that the FTX Insiders intentionally kept these transfers secret. ¶ 31 (“In reality, however, the FTX

Insiders routinely, and secretly, used Alameda to loot ‘several billion dollars’ from FTX.com using

the ‘special privileges,’ thereby defrauding FTX.com’s creditors, including customers and

investors.”); ¶ 49-55; see also Main Case D.I. 24 ¶ 68 (Report by Mr. John J. Ray III, Chief

Executive Officer of the Debtors, stating “many of the employees of the FTX Group, including

some of its senior executives, were not aware of the shortfalls or potential commingling of digital

assets. Indeed, I believe some of the people most hurt by these events are current and former

employees and executives, whose personal investments and reputations have suffered.”).

       Accepting as true Plaintiffs’ own allegations that no one outside of the FTX Insiders knew

about the initial transfers between FTX.com and Alameda, Defendants could not have had




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knowledge of the avoidability of those transfers.22 Nor would reasonable diligence performed by

Defendants in connection with the Embed transaction—which did not involve the FTX.com silo

at all—have revealed those transfers.

        Because Defendants’ good faith and value given is apparent from the face of the Complaint,

all of Plaintiffs’ claims against Defendants should be dismissed as barred by section 550(b). See

Clean Air Council v. U.S. Steel Corp., 4 F.4th 204, 211 (3d Cir. 2021) (affirming dismissal of

complaint because “[w]e may dismiss a complaint when an unanswered affirmative defense

appears on its face”) (internal quotation and citation omitted); Kelly v. Opportunity Fin., LLC (In

re Petters Co., Inc.), 562 B.R. 391, 401 (Bankr. D. Minn. 2016) (“[A] plaintiff cannot recover

from a subsequent transferee if the subsequent transferee received the property for value and in

good faith. The value and good faith exception is an affirmative defense, but if the defense is clear

from the face of the complaint then it is a bar to recovery.”).

        C.       The Court Should Not Allow Plaintiffs To Evade Section 550(b) Through
                 Artful Pleading

        Even if Plaintiffs were to seek leave to amend in order to remove allegations demonstrating

that Defendants are good faith subsequent transferees pursuant to section 550(b), the Complaint

would still be subject to dismissal because Plaintiffs do not, and cannot, plead facts showing that

the section 550(b) bar should not apply.

        Whereas the transferee bears the burden of proof for a good faith defense under section

548(c), the Third Circuit has stated that “[i]t is not at all clear to us that ‘the language of the [section

550(b)] places the burden of showing value, good faith, and lack of knowledge, on the transferee


22
  A transferee’s good faith is based on “what the transferee [objectively] ‘knew or should have known.’” Burtch v.
Masiz (In re Vaso Active Pharms., Inc.), 500 B.R. 384, 401 n. 113 (Bankr. D. Del. 2013) (citation omitted); see also
Erie Marine Enter., Inc. v. NationsBank, N.A. (In re Erie Marine Enter., Inc.), 216 B.R. 529, 537 (Bankr. W.D. Pa.
1998) (dismissing claim because “the [transferee] was a subsequent transferee that took for value, in good faith, and
without knowledge of the voidability of the transfer”).




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as a defense,’” Wasserman v. Bressman (In re Bressman), 327 F.3d 229, 236 n.2 (3d Cir. 2003)

(quoting Internal Rev. Serv. v. Nordic Village, Inc. (In re Nordic Village, Inc.), 915 F.2d 1049,

1055 (6th Cir.1990)),23 and cited with approval the following passage from the dissenting opinion

in In re Nordic Village:

        Although the Code makes clear that initial transferees are generally presumed to be
        on notice of the voidability of a transfer and have few if any defenses to the trustee,
        (see 11 U.S.C. §§ 549, 550(a)(1); Bankruptcy Rule 6001), the Code also makes
        clear that subsequent transferees are not under such a severe disability. 11 U.S.C. §
        550(b). Such a dichotomy is rationally related to the fact that initial transferees will
        generally have knowledge and therefore act in bad faith since they deal directly
        with the bankrupt. In contrast, subsequent transferees are much more likely to be
        innocent third parties. They have little ability to protect themselves by making
        cursory checks on their transferor. Absent an express rule placing the burden of
        proof on subsequent transferees, I believe the burden should rest on the party
        seeking to recover the property, at least as to the issues of the subsequent
        transferee’s good faith and knowledge.

In re Nordic Village, 915 F.2d at 1063-64 (dissenting opinion).

        Some courts have downplayed or disregarded the different language in section 550(b) and

reasoned that the transferee, regardless of its place in a chain of transfers, will be in the best

position to plead and prove facts showing its good faith. See, e.g., Picard v. Citibank, N.A. (In re

Bernard L. Madoff Inv. Secs. LLC), 12 F.4th 171, 199 (2d Cir. 2021). But while “[t]he ordinary

rule, based on considerations of fairness, does not place the burden upon a litigant of establishing

facts peculiarly within the knowledge of his adversary, . . . this ‘rule is far from being universal,

and has many qualifications upon its application.’” Schaffer ex rel. Schaffer v. Weast, 546 U.S.

49, 57-60 (2005) (citations omitted); id. at 56 (citing 2 J. Strong, McCormick on Evidence § 342,




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   But see ETS Payphones, Inc. v. AT & T Universal Card (In re PSA, Inc.), 335 B.R. 580, 586 (Bankr. D. Del. 2005)
(relying on Nordic Village, without any reference to or acknowledgment of the Third Circuit’s observations in
Bressman, and stating that the transferee defendant “would have the burden to show that it 1) took for value, 2) in
good faith, and 3) without knowledge of the validity of the transfer.”).




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p. 433 (5th ed. 1999) (“Very often one must plead and prove matters as to which his adversary has

superior access to the proof”)).

       Notwithstanding the majority view that section 550(b) is an affirmative defense, the Third

Circuit has expressly reserved the issue because “we agree . . . that the Code treats initial

transferees in a different manner than subsequent transferees and that a substantial argument can

be made in favor of placing the burden of proof on the trustee with respect to subsequent

transferees.” In re Bressman, 327 F.3d at 236 n.2.

       There are multiple factors weighing in favor of requiring that a trustee plead and prove that

a subsequent transferee acted in bad faith or had knowledge of a debtor’s fraud. First, a subsequent

transferee that had no involvement with the initial transfer is presumptively more likely to have

taken in good faith and without knowledge of the circumstances of the initial transfer, so why

should they still bear the same burden as the initial transferee to demonstrate that fact and be forced

to prove what is already presumptively true? Second, while transferees may indeed already have

information tending to show their good faith, the additional burden on a trustee or debtor to conduct

a reasonable inquiry into those facts as part over its overall ethical duty to investigate claims before

bringing them (as well as its fiduciary duty to identify and maximize the value of estate assets with

the assistance of retained professionals) is likely to be de minimis in most cases. Third, if the good

faith burden rests on the subsequent transferee, section 550(b) is likely to promote the abuse of

innocent creditors, contravening its protective intent. Establishing an affirmative defense often

requires a defendant to incur substantial litigation costs associated with discovery and motion

practice. Thus, faced with immense pressure to bring money into their insolvent estates, plaintiffs

are incentivized to bring meritless claims and extract settlement value from subsequent transferees

that plaintiffs know perfectly well took in good faith but who will, in most instances, make the




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rational decision to just pay the estate to make the claims go away rather than incur the time,

expense, and distraction of defending them.

        In light of the text and intent of section 550(b), Plaintiffs bear the burden to plead and prove

that their claims against Defendants are not barred. But even if the Court determines that section

550(b) does not require it, section 105(a) of the Bankruptcy Code gives the court flexibility to

place the burden on the plaintiff under appropriate circumstances. 11 U.S.C. § 105(a) (“The court

may issue any order, process, or judgment that is necessary or appropriate to carry out the

provisions of this title.”).

        This case raises issues of public policy that present just such circumstances. Like Lehman,

Enron, SemCrude, and a host of other bankruptcy cases prompted by fraudulent activities within

large corporate enterprises, the FTX bankruptcy is vast in scope.24 Based on the lessons from

those cases, Plaintiffs’ adversary proceedings against the Defendants here likely represent a small

fraction of the litigation that will be pending before this Court for years to come. But FTX is also

distinguishable from those other cases in certain important respects. FTX did not operate in a

highly regulated industry; instead, regulation of the cryptocurrency industry, known for its extreme

volatility and highly speculative products, is nascent.25 It was these very qualities that attracted so

many FTX customers and investors, who willingly embraced the risk in the hope that they would

strike it rich in a modern-day gold rush. Their enthusiasm provided access to cash that the FTX




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  See generally In re Lehman Brothers Holdings Inc., No. 08-13555 (Bankr. S.D.N.Y.); In re Enron Corp., No. 01-
16034 (Bankr. S.D.N.Y.); In re SemCrude LP, No. 08-11525 (Bankr. D. Del.).
25
    See SEC, Exercise Caution with Crypto Asset Securities: Investor Alert (March 23, 2023),
https://tinyurl.com/yumu5zf3; see also Eric Lipton, As Scrutiny of Cryptocurrency Grows, the Industry Turns to K
Street, N.Y. Times (May 9, 2021) (updated Nov. 1, 2021), https://tinyurl.com/5n8ytzws (Janet Yellen, Treasury
Secretary stated crypto currency “. . . is a highly speculative asset, and I think people should beware, it can be
extremely volatile.”).




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Group used to acquire other legitimate businesses like Embed through ordinary, run-of-the-mill

M&A transactions.

       Thus, unlike many other corporate schemes that have come to light, FTX’s customers

arguably had vastly different expectations and knowingly accepted more risk in dealing with the

Debtors than the Debtors’ other creditors. For that reason, it would be particularly inequitable to

require ordinary creditors and counterparties of FTX such as the Defendants, who merely engaged

in an arm’s length business transaction, to bear the burden and expense to prove affirmatively what

the Complaint already admits—that the FTX Insiders’ fraudulent activities were a well-kept secret.

       The Court can prevent the adversary proceedings in these cases from needlessly clogging

the Court’s docket and delaying finality for the Debtors’ creditors, and minimize the potential for

abusive (if well-intentioned) litigation tactics, by presuming that subsequent transferees of

transfers from FTX.com took in good faith and requiring that Plaintiffs bear the burden of pleading

and proving a subsequent transferee’s lack of good faith. Such a presumption would be consistent

with the prepetition conduct and reasonable expectations of the Debtors’ stakeholders, and with

the facts as pled in the Complaint. And requiring that Plaintiffs plead and prove a subsequent

transferee’s lack of good faith would be consistent with the Third Circuit’s observation that “the

Code treats initial transferees in a different manner than subsequent transferees and that a

substantial argument can be made in favor of placing the burden of proof on the trustee with respect

to subsequent transferees.” In re Bressman, 327 F.3d at 236 n.2.

III.   Counts I and III of the Complaint Should Also Be Dismissed Because Plaintiffs’
       Allegations Of Actual Fraud Do Not Relate To The Embed Acquisition

       Counts I and III should also be dismissed because the Complaint is devoid of facts showing

that the Embed acquisition was undertaken with “actual intent to hinder, delay, or defraud” any of

Plaintiffs’ creditors. 11 U.S.C. § 548(a)(1)(A). Instead, the allegations in the Complaint are




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inconsistent with such fraudulent intent. Plaintiffs admit that acquiring Embed served a legitimate

business purpose, i.e., to “expand FTX.US’s operations into conventional securities markets,”

which would in turn result in “enriching” WRS shareholders. ¶ 28.

        The fraud allegations that are in the Complaint are misdirected and relate to transactions

distinct from the Embed acquisition.

        In prosecuting a fraudulent transfer claim based on actual intent, it is typically not
        sufficient to show that the debtor intended to defraud someone and the debtor also
        made a transfer. Just because a debtor is involved in a fraudulent scheme does not
        mean that every transfer made by that debtor is made with fraudulent intent. In
        order to prosecute a claim based on actual intent to hinder, delay, or defraud a
        creditor, the plaintiff must show that the alleged fraudulent intent is related to the
        transfers sought to be avoided.

Rollaguard Sec., LLC v. TD Bank, N.A. (In re Rollaguard Sec., LLC), 591 B.R. 895, 918 (Bankr.

S.D. Fla. 2018) (emphasis added).

        Here, none of the fraud allegations in the Complaint relate to the transfers made in

connection with the Embed acquisition even though these are the transfers Plaintiffs seek to avoid.

¶¶ 70, 80; Giles Compl. Ex. A; Rocket Compl. Ex. A. Instead, Plaintiffs’ fraud allegations concern

the FTX Insiders’ fraudulent misappropriation of FTX.com customer funds. ¶¶ 27, 31, 53, 81.

That is insufficient.

        Sharp International Corp. v. State Street Bank & Trust Co. (In re Sharp International

Corp.) is instructive. There, Sharp’s bankruptcy trustee brought suit against State Street, one of

Sharp’s former lenders, to recover, among other things, a $12 million payment made to State Street

from the $25 million in proceeds from a sale of subordinated notes to Noteholders. 302 B.R. 760,

767-69 (E.D.N.Y. 2003), aff’d, 403 F.3d 43 (2d Cir. 2005). Notwithstanding the bankruptcy

trustee’s factual allegations showing that Sharp used “inflated financial statements to induce the

Noteholders to advance sums far in excess of what they would have been willing to provide had

they known Sharp’s true financial picture,” the district court dismissed Sharp’s claim that the $12



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million payment was avoidable as an intentional fraudulent conveyance because “the fraud

detailed in Sharp’s complaint concerns the manner in which the debt to the Noteholders arose, not

the subsequent conveyance of those funds to State Street, which was a legitimate creditor of

Sharp.” Id. at 784.

       Similarly, the fraud alleged in the Complaint concerns the FTX Insiders’ misappropriation

of FTX.com customer funds through Alameda, ¶¶ 27, 31, 53, 81, not the subsequent transfers of

those funds to acquire Embed. Indeed, the Complaint alleges that WRS’s acquisition of Embed,

which operated a FINRA licensed broker-dealer, custodian and clearing firm, was for a legitimate

business purpose: “to provide FTX.US customers with the ability to trade stocks, in addition to

cryptocurrency, on the FTX.US exchange platform.” ¶ 4.

       Because the Complaint underscores that the transfers of funds for the Embed acquisition

were for a legitimate purpose, it is not surprising that it also fails to plead facts showing the

presence of “badges of fraud” indicative of fraudulent intent, much less a “confluence of several”

badges. In re Fedders, 405 B.R. at 545-47 (dismissing avoidance claims under Bankruptcy Code

section 548(a)(1)(A) and state law Unform Fraudulent Transfer Act); see also In re United Tax

Grp., 2018 WL 1135496, at *10 (explaining that “Plaintiffs must plead sufficient facts to support

badges of fraud” and holding that proposed claims for actual fraudulent conveyance were

insufficiently pled).

       Insolvency. Plaintiffs fail to allege facts supporting their conclusory assertion that they

were insolvent at the time of, or rendered insolvent by, the Embed acquisition. ¶ 68; see In re

United Tax Grp., 2018 WL 1135496, at *10 (rejecting “conclusory statement of insolvency”).

Even accepting arguendo Plaintiffs’ conclusory assertion, this factor is of little weight as every

transaction involving the Plaintiffs during the same period would also bear this badge.




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       Relationship Between Debtor and Transferee. Plaintiffs do not allege that they have the

type of close, insider relationship with Defendants that courts have found to be a badge of fraud.

See, e.g., In re United Tax Grp., 2018 WL 1135496, at *10 (“insider relationship between the

Debtor and SWZ, the recipient of all of the transfers”); Forman v. Kelly Cap., LLC (In re Nat’l

Serv. Indus., Inc.), 2015 WL 3827003, at *5 (Bankr. D. Del. June 19, 2015) (close relationship

where transfers were made to “officers and members of the Debtor’s board”); Crawford v.

Zambrano (In re Zambrano Corp.), 478 B.R. 670, 692 (Bankr. W.D. Pa. 2012) (close relationship

where debtor and transferee were both controlled by members of the same family). Instead,

Plaintiffs allege an arm’s length relationship between Plaintiffs and Defendants. See generally ¶¶

28, 37-38. See Nisselson v. Softbank AM Corp. (In re Marketxt Holdings Corp.), 361 B.R. 369,

396 (Bankr. S.D.N.Y. 2007) (dismissing claim for actual fraudulent conveyance where “there were

no familial or personal relationships between the parties” and instead “an arm’s length

relationship”).

       Consideration for Conveyance.        Plaintiffs concede that, as a result of the Embed

transaction, WRS acquired Embed, which operated a FINRA licensed broker-dealer, custodian and

clearing firm, and the continued employment of key Embed employees, ¶¶ 3, 5, 47. As WRS

received consideration for the transfer, Plaintiffs cannot establish this badge of fraud. Friedman

v. Wellspring Cap. Mgmt., LLC (In Re Sportco Holdings, Inc.), 2021 WL 4823513, at *16 (Bankr.

D. Del. Oct. 14, 2021) (dismissing counts of actual fraud where debtor received consideration for

the transfer); compare MSKP Oak Grove, LLC v. Venuto, 875 F. Supp. 2d 426, 437 (D. N.J. 2012)

(denying motion to dismiss where debtor received “no consideration” for transfer).




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           Portion of Estate Transferred.             Plaintiffs allege only that Defendants were paid

$243,665,744.7626 in connection with the Embed acquisition. Plaintiffs do not allege what this

amount represents in relation to the total value of the Debtors’ estates, much less that the funds

transferred represented “substantially all” of the Debtors’ assets. Tronox Inc. v. Anadarko

Petroleum Corp. (In re Tronox Inc.) 429 B.R. 73, 92-93 (Bankr S.D.N.Y. 2010) (denying motion

to dismiss where “substantially all” assets were transferred for no consideration).

           Reservation of Benefits. Plaintiffs do not allege, nor could they, that Defendants retained

any control over or derived any further benefit from the property transferred.

           Secrecy. Plaintiffs do not allege that the Embed transaction was concealed. Nor could

they. FTX publicly touted the acquisition of Embed, including in a June 21, 2022 press release.27

To the extent Plaintiffs’ contention that “material facts relating to the transfers were concealed”

refers to WRS’s transfer of funds to Defendants, ¶ 68, it is unsupported by any factual allegations.

To the extent Plaintiffs’ contention refers to the FTX Insiders’ fraudulent misappropriation of

FTX.com customer funds, it is misdirected and irrelevant. See In re Sharp Int’l Corp., 302 B.R.

at 784; In re Rollaguard, 591 B.R. at 918.

           In sum, the Complaint does not come close to pleading a confluence of several badges of

fraud, underscoring that Counts I and III of the Complaint should be dismissed. In re Cred Inc

650 B.R. at 834-35 (dismissing actual fraudulent transfer claims because badges of fraud were

supported by “conclusory statements” only); see also In re Sportco Holdings, Inc. 2021 WL

4823513, at *16 (dismissing actual fraudulent transfer claims because allegations “[did] not

constitute sufficient badges of fraud to survive a motion to dismiss”); Silverman v. Actrade Cap.,



26
     Giles Compl. ¶¶ 5, 38 ($236,764,105.34); Rocket Compl. ¶¶ 5, 38 ($6,901,639.42).
27
    FTX US Acquires Clearing Firm Embed to Enhance FTX Stocks, PR Newswire (June 21, 2022),
https://tinyurl.com/2mjffwmu.




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Inc. (In re Actrade Fin. Techs. Ltd.), 337 B.R. 791, 809 (Bankr. S.D.N.Y. 2005) (dismissing claims

for intentional fraudulent conveyance because “[t]he Complaint contains few if any ‘badges of

fraud’ in its various allegations”).

IV.     Counts II and IV Of The Complaint Should Be Dismissed For Failure To Adequately
        Allege Constructive Fraud

        Counts II and IV of the Complaint should also be dismissed for failure to adequately allege

constructive fraud in connection with the Embed acquisition. To adequately plead a claim for

constructive fraud under either the Bankruptcy Code or the Delaware Uniform Fraudulent Transfer

Act, Plaintiffs must plead facts showing that there was a transfer for less than reasonable equivalent

value at the time of the transfer “and not beyond that point. Subsequent increase or decrease in

the value of the consideration does not affect [the] evaluation.” Kapila v. U.S. of Am. (In re

Taylor), 386 B.R. 361, 370 (Bankr. S.D. Fla. 2008), aff’d sub nom. United States v. Kapila, 402

B.R. 56 (S.D. Fla. 2008).

        Here, Plaintiffs impermissibly rely on allegations concerning events that occurred not only

after the closing of the Embed transaction, but also after the bankruptcy filings of Plaintiffs and

other FTX Group entities: “On January 12, 2023, as part of the Chapter 11 Cases, the Court

authorized certain procedures proposed by the Debtors with respect to running a sale process for

Embed[.] . . . [T]he Debtors received twelve non-binding Initial Indications of Interest . . . with an

average value of approximately $35 million. . . . The bidders had figured out what the FTX Group

and FTX Insiders did not bother to assess prior to the Embed acquisition, namely, that Embed’s

vaunted software platform was essentially worthless.” ¶¶ 57, 62.

        These allegations regarding bids made after the bankruptcy filings of Plaintiffs and other

FTX Group entities are irrelevant as to whether Plaintiffs received “reasonable equivalent value”

on September 30, 2022, the date the Embed acquisition closed. See Gavin Solmonese, LLC v.




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Shyamsundar (In re Amcad Holdings, LLC), 579 B.R. 33, 41 (Bankr. D. Del. 2017) (“‘a court must

consider whether, ‘based on the circumstances that existed at the time’ of the transfer, it was

‘legitimate and reasonable’ to expect some value accruing to the debtor’”); Key3Media Grp., Inc.

v. Pulver.com, Inc. (In re Key3Media Grp., Inc.), 336 B.R. 87, 94 (Bankr. D. Del. 2005), aff’d,

2006 WL 2842462 (D. Del. Oct. 2, 2006) (“the determination of reasonably equivalent value must

be made at the time of the transaction”); Off Comm. of Unsecured Creditors v. Aust (In re Network

Access Sols., Corp.), 330 B.R. 67, 76 (Bankr. D. Del. 2005) (same).28 They also defy common

sense. It is self-evident that a company in obvious financial distress lacks leverage to obtain top

dollar for its assets. The liquidation of a debtor’s assets through a bankruptcy case does not negate

that indisputable fact—it merely helps to mitigate further value destruction by implementing an

orderly process in lieu of a “fire sale” on the courthouse steps. See 7 Collier on Bankruptcy

¶ 1108.13 (16th ed.).

         The only allegations in the Complaint that even arguably relate to Embed’s value at or prior

to closing do not come close to meeting Plaintiffs’ pleading burden:

            Plaintiffs make no attempt to reconcile their vague allegation that, in May 2022,
             an unnamed Embed employee was “concerned” with unspecified software bugs
             that FTX US’s President noticed, ¶ 41, with the “excellent [Embed] technology
             and infrastructure” that FTX US’s President praised in late June 2022,29 or
             otherwise provide any context for why these unspecified software bugs meant
             that WRS received less than reasonably equivalent value when the Embed
             transaction closed on September 30, 2022.


28
   See also Mellon Bank, N.A. v. Off. Comm. of Unsecured Creditors of R.M.L., Inc. (In re R.M.L., Inc.), 92 F.3d 139,
151-52 (3d Cir.1996) (rejecting rule that “only successful investments can confer value on a debtor,” admonishing
courts from “viewing [] events with the benefit of hindsight to conclude that any transfer that did not bring in the
actual, economic equivalent of what was given up,” and holding that courts should “determine, based on the
circumstances that existed at the time the investment was contemplated, whether there was any chance that the
investment would generate a positive return”); Cooper v. Ashley Commc’ns (In re Morris Commc’ns NC, Inc.), 914
F.2d 458, 472 (4th Cir. 1990) (disregarding testimony supporting lack of reasonably equivalent value after the transfer
of property); Love v. B.R.B. Enter., Ltd. (In re Calvillo), 263 B.R. 214, 219 (W.D. Tex. 2000) (rejecting expert
testimony on reasonably equivalent value based on hindsight).
29
   See FTX US Acquires Clearing Firm Embed to Enhance FTX Stocks, PR Newswire (June 21, 2022),
https://tinyurl.com/2mjffwmu.




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            Plaintiffs refer to snippets of an Embed employee’s exchanges in June 2022
             purportedly expressing concern about the Embed platform’s ability to onboard
             new user accounts for FTX Stocks, ¶ 42, but do not allege that the employee’s
             concern materialized or that Embed’s platform otherwise jeopardized or
             impaired the commercial success of FTX Stocks.

            Plaintiffs contend that the purchase price for Embed, a growth-stage startup
             company, was “astronomical,” when it had a “mere $25,000 in net revenue”
             and a “miniscule customer base,” ¶ 44, but revenues are largely irrelevant when
             valuing startups that have only begun to generate sales. Indeed, at or around
             the time of the Embed acquisition, crypto and fintech startups routinely raised
             hundreds of millions of venture capital based on valuations in the billions.30

        Plaintiffs have failed to plead facts showing that WRS’s arm’s length acquisition of Embed,

which operated a FINRA licensed broker-dealer, custodian and clearing firm, as well as the

continued employment of key Embed employees, resulted in the receipt of less than reasonably

equivalent value. This alone provides independent grounds for the dismissal of Counts II and IV

of the Complaint. In re Cred Inc., 650 B.R. at 835-37 (dismissing constructive fraud claims for

failure to plead facts showing receipt of less than reasonably equivalent value); Gavin Solmonese,

LLC v. Corp. Servs. Co. (In re Daily Bread Winddown, LLC), 2022 Bankr. LEXIS 3078, at *8

(Bankr. D. Del. Nov. 1, 2022) (dismissing constructive fraud claim because the complaint

“contains no factual information from which one could conclude that the Debtors did not ‘get what

they gave’”) (citing VFB, LLC v. Campbell Soup Co., 482 F.3d 624, 631 (3d Cir. 2007)); Burtch

v. Huston (In re USDigital, Inc.), 443 B.R. 22, 39-40 (Bankr. D. Del. 2011) (dismissing



30
   For example: (i) Fireblocks was valued at $8 billion and raised $550 million in funding in August 2022 (Joanna
Ossinger, Crypto Startup Backed By Google Fund Hits $8 Billion Valuation, Bloomberg (January 27, 2022),
https://tinyurl.com/33vm23wa); (ii) Binance raised more than $200 million in a seed round in April 2022 at a pre-
money valuation of $4.5 billion (Chris Metinko, Crypto Exchange Binance.US Raises $200M-Plus ‘Seed’ Round at
$4.5B, Crunchbase (April 6, 2022), https://tinyurl.com/yzdxuxa8); (iii) KuCoin announced in April 2022 a $150
million pre-Series B funding round, bringing its valuation to $10 billion (KuCoin Raises $150 Million at $10 Billion
Valuation to Pioneer Exploration in Web 3.0, Business Wire (May 10, 2022), https://tinyurl.com/yu2rhbdh); (iv) Brex
raised $300 million in January 2022 at a valuation of $12.3 billion (Mary Ann Azevedo, Fintech Brex Confirms
$12.3B Valuation, Snaps Up Meta Exec to Serve as its Head of Product, Techcrunch (January 11, 2022),
https://tinyurl.com/5h4pwsdc); and (v) Klarna raised $800 million in July 2022 at a valuation of $6.7 billion (Paul
Sawers, Klarna Confirms $800M Raise as Valuation Drops 85% to $6.7B, Techcrunch (July 11, 2022),
https://tinyurl.com/3d3mm8wk).




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constructive fraud claims based on “conclusory” allegations and “threadbare assertions”); Zazzali

v. Hirschler Fleischer, P.C., 482 B.R. 495, 520-21 (D. Del. 2012) (dismissing constructive fraud

claims for failure to adequately plead facts supporting the claims).

        Counts II and IV of the Complaint should also be dismissed for the independent reason that

Plaintiffs have failed to plead facts showing that the Debtor transferor (here, WRS) was insolvent

at the time of, or rendered insolvent by, the Embed acquisition. “Insolvency is determined at the

time of conveyance.” Jalbert v. Souza (In re F-Squared Inv. Mgmt., LLC), 2019 WL 4261168, at

*11 (Bankr. D. Del. Sept. 6, 2019). Here, the challenged transfers occurred on September 30,

2022, when the Embed acquisition closed. The Complaint is devoid of any allegation that WRS,

the only Plaintiff that was a party to the Merger Agreement, was insolvent at the time of, or

rendered insolvent by, the September 30, 2022 closing. Instead, Plaintiffs make the irrelevant

allegation that WRSS was insolvent as of November 8-9, 2022, ¶ 64, and the conclusory assertion

that Alameda “could not repay what it owed” in “early September 2022” ¶ 65. That is patently

insufficient. See In re F-Squared Inv. Mgmt., LLC, 2019 WL 4261168, at *11 (finding insufficient

“conclusory statement” and a mere “recitation of the word ‘insolvency’” without “any specific

allegations” supporting alleged insolvency); Carickhoff v. Cantor (In re Live Well Fin., Inc.), 2023

WL 4025816, at *8 (Bankr. D. Del. June 14, 2023) (dismissing constructive fraud claim for failure

to adequately plead facts regarding the debtor transferor’s financial condition at the time of the

challenged transfer); Insys Liquidation Tr. v. Quinn Emanuel Urquhart & Sullivan, LLP (In re

Insys Therapeutics, Inc.), 2021 WL 5016127, at *5 (Bankr. D. Del. Oct. 28, 2021) (same).31




31
  Plaintiffs otherwise rely on a random assortment of irrelevant allegations regarding the alleged misconduct of the
FTX Insiders with respect to FTX.com customer funds. See, e.g., ¶¶ 66-67.




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V.     Bankruptcy Code Section 546(e) Bars Counts II, III, And IV Of The Complaint

       Even if Plaintiffs were to argue, and the Court were to assume arguendo, that Defendants

are initial transferees of transfers from WRS, Counts II, III and IV of the Complaint, which seek

to avoid transfers made to acquire Defendants’ Embed Equity Interests, ¶¶ 73-89; Giles Compl.

Ex. A; Rocket Compl. Ex. A, would still be still barred by Bankruptcy Code section 546(e), which

provides:

       Notwithstanding sections 544, 545, 547, 548(a)(1)(B), and 548(b) of this title, the
       trustee may not avoid a transfer that is a margin payment, as defined in section 101,
       741, or 761 of this title, or settlement payment, as defined in section 101 or 741 of
       this title, made by or to (or for the benefit of) a commodity broker, forward contract
       merchant, stockbroker, financial institution, financial participant, or securities
       clearing agency, or that is a transfer made by or to (or for the benefit of) a
       commodity broker, forward contract merchant, stockbroker, financial institution,
       financial participant, or securities clearing agency, in connection with a securities
       contract, as defined in section 741(7), commodity contract, as defined in section
       761(4), or forward contract, that is made before the commencement of the case,
       except under section 548(a)(1)(A) of this title.

11 U.S.C. § 546(e).

       Congress enacted section 546(e) to promote “certainty” and “finality” by protecting certain

transactions from being unwound years later for the benefit of a bankruptcy estate. Golden v.

Cmty. Health Sys., Inc. (In re Quorum Health Corp.), 2023 WL 2552399, at *9, n.59 (Bankr. D.

Del. Mar. 16, 2023) (analyzing Kirschner v. Merrill Lynch (In re Tribune Co. Fraudulent Conv.

Litig.), 946 F.3d 66, 92 (2d Cir. 2019)). Although section 546(e) does not bar actual fraudulent

transfer claims under section 548(a)(1)(A), it bars section 548(a)(1)(B) claims for constructive

fraudulent transfer and both actual and constructive fraudulent transfer claims under state law

brought pursuant to section 544(b). See SIPC v. Madoff, 476 B.R. 715, 722 (S.D.N.Y. 2012)

(Section 546(e) safe harbor prevents avoidance of transfers under sections 548(a)(1)(A),

548(a)(1)(B) and 544(b), including state law claims for actual and constructive fraudulent

transfer), aff’d sub nom In re Bernard L. Madoff Inv. Sec. LLC, 773 F.3d 411 (2d Cir. 2014); Bond



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v. Nat. Fin. Servs & JP Turner & Co., LLC (In re U.S. Mortg. Corp.), 491 B.R. 642, 675-76 (Bankr.

D.N.J. 2013) (Section 546(e) safe harbor bars all state law claims brought under section 544(b),

including state law claims for actual and constructive fraudulent transfer).

         Here, the Equity Purchase Transfers that Plaintiffs seek to avoid in Counts II, III, and IV

fall squarely within at least two of the section 546(e) safe harbors. As explained below, they were

both (i) “transfer[s] made by or to (or for the benefit of) a . . . financial institution . . . in connection

with a securities contract, as defined in section 741(7);” and (ii) “settlement payment[s], as defined

in section 101 or 741 of this title, made by or to (or for the benefit of) a . . . financial institution.”

11 U.S.C. § 546(e).

         A.       The Equity Purchase Transfers That Plaintiffs Seek To Avoid Were Made In
                  Connection With A “Securities Contract,” As Defined In Section 741(7)

         The Equity Purchase Transfers were indisputably made “in connection with a securities

contract,” 11 U.S.C. § 546(e), which Bankruptcy Code section 741(7) defines to include, among

other things, (i) “a contract for the purchase [or] sale . . . of a security,” 11 U.S.C. § 741(7)(A)(i),

(ii) “any repurchase . . . transaction on any such security,” id., and (iii) “any other agreement or

transaction that is similar to [such] an agreement.” Id. at (7)(A)(vii).

         As alleged in the Complaint, the Equity Purchase Transfers were made pursuant to the

Merger Agreement. ¶¶ 38; Giles Compl. Ex. A; Rocket Compl. Ex. A. The Merger Agreement

was a “securities contract” because it was a contract for the purchase, sale, or repurchase of

securities—here, Defendants’ Embed shares, options, warrants, and SAFEs.32 See, e.g., Ex. 1 §

3.2.




32
   The Bankruptcy Code defines a “security” to include, among other things, stocks, notes, bonds, warrants or rights
to subscribe to or purchase or sell a security, and any other claim or interest commonly known as a security. 11 U.S.C.
§ 101(49).




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       The Equity Purchase Transfers were thus made in connection with a securities contract for

purposes of Section 546(e). See PAH Litig. Trust v. Water St. Healthcare Partners L.P. (In re

Physiotherapy Holdings, Inc.), 2016 WL 3611831, at *11 (Bankr. D. Del. June 20, 2016)

(explaining that “section 546(e) should be interpreted liberally” and finding that payments were

made in connection with securities contract notwithstanding that Defendants’ shares were

“converted into certificates redeemable for cash prior to the merger’s closing”); In re Tribune, 946

F.3d at 81 (“all of the payments at issue, including those connected to the redemption of shares,

were ‘in connection with a securities contract’”).

       B.      The Equity Purchase Transfers That Plaintiffs Seek To Avoid Were
               “Settlement Payments,” As Defined In Section 741(8)

       The Equity Purchase Transfers were also indisputably “settlement payment[s],” 11 U.S.C.

§ 546(e), which Bankruptcy Code section 741(8) defines as “a preliminary settlement payment, a

partial settlement payment, an interim settlement payment, a settlement payment on account, a

final settlement payment, or any other similar payment commonly used in the securities trade.” 11

U.S.C. § 741(8). “In the securities industry, a settlement payment is generally the transfer of cash

or securities made to complete a securities transaction.” Lowenschuss v. Resorts Int’l, Inc. (In re

Resorts Int’l, Inc.), 181 F.3d 505, 515 (3d Cir. 1999), abrogated on other grounds by Merit Mgmt.

Grp., LP v. FTI Consulting, Inc., 138 S. Ct. 883 (2018). Thus, as the Third Circuit explained in

holding that a payment for shares during a leveraged buyout was a “settlement payment” for

purposes of section 546(e), “the term ‘settlement payment’ is a broad one that includes almost all

securities transactions.” Id.; see also Brandt v. B.A. Cap. Co. LP (In re Plassein Int’l Corp.), 590

F.3d 252, 257-59 (3d Cir. 2009) (rejecting trustee argument that the term “settlement payment” is

limited to payments for publicly-traded securities).




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           As alleged in the Complaint, the Equity Purchase Transfers were payments made for

Defendants’ securities in Embed. ¶¶ 38; Giles Compl. Ex. A; Rocket Compl. Ex. A. They are

therefore “settlement payments” as defined in section 741(8). See In re Resorts, 181 F.3d at 515-

16; In re Plassein, 590 F.3d at 257-59; Physiotherapy Holdings, 2016 WL 3611831, at *11

(explaining that “section 546(e) should be interpreted liberally” and finding that payments made

as part of reverse-triangular merger were “settlement payments”).

           C.       The Equity Purchase Transfers That Plaintiffs Seek To Avoid Were Made By
                    Or For The Benefit Of A “Financial Institution”

           Finally, the Equity Purchase Transfers were “made by or to (or for the benefit of) a . . .

financial institution.” 11 U.S.C. § 546(e). As explained below, WRS was a “financial institution”

for purposes of section 546(e).

           The Bankruptcy Code defines a “financial institution” to include “a Federal reserve bank,

or an entity that is a commercial or savings bank, industrial savings bank . . . and, when any such

. . . entity is acting as agent or custodian for a customer . . . in connection with a securities contract

. . . such customer.” 11 U.S.C. § 101(22)(A) (emphasis added).

           Here, WRS was a customer of a Western Alliance Bank, a state-chartered bank and a

member of the Federal Reserve System supervised by the Federal Reserve Board,33 in connection

with a securities contract (i.e., the Merger Agreement). Indeed, the Merger Agreement specifically

designated Western Alliance Bank acted as WRS’s exchange and escrow agent for the Equity

Purchase Transfers. See Ex. 1 § 3.2; Ex. 4 ¶ 4.

           WRS was therefore a “financial institution” for purposes of section 546(e). See In re

Tribune Co. Fraudulent Conv. Litig., 2019 WL 1771786, at *9-11 (S.D.N.Y. Apr. 23, 2019)




33
     See Western Alliance Bank Institution Details, FDIC (last updated Aug. 4, 2023), https://tinyurl.com/ytz2ua2c.




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(holding that Tribune was CTC’s customer and thus a “financial institution” for purposes of section

546(e) because “Tribune engaged the CTC’s services as depositary” and “CTC was entrusted with

billions of dollars of Tribune cash and was tasked with making payments on Tribune’s behalf to

Shareholders upon the tender of their stock certificates to CTC”), aff’d, 10 F.4th 147 (2d Cir.

2021); see also Holliday v. Credit Suisse Sec. (USA) LLC, 2021 WL 4150523, at **6-7 (S.D.N.Y.

Sept. 13, 2021) (affirming dismissal of fraudulent conveyance claims as safe-harbored and holding

that customer of a bank acting as depository and distributor of proceeds was “financial institution”

for purposes of section 546(e)); In re Nine West LBO Sec. Litig., 482 F. Supp. 3d 187, 202

(S.D.N.Y. 2020) (dismissing fraudulent conveyance claims as safe-harbored and holding that

customer of a bank acting as distributor of merger consideration was a “financial institution” for

purposes of section 546(e)).

                                                 * * *

        In sum, even assuming arguendo that Defendants are initial transferees of transfers from

WRS, Counts II, III, and IV of the Complaint are still barred by Bankruptcy Code section 546(e)

because the Equity Purchase Transfers Plaintiffs seek to avoid were (i) “transfer[s] made by or to

(or for the benefit of) a . . . financial institution . . . in connection with a securities contract, as

defined in section 741(7);” and/or (ii) “settlement payment[s], as defined in section 101 or 741 of

this title, made by or to (or for the benefit of) a . . . financial institution.” 11 U.S.C. § 546(e).

VI.     Plaintiffs’ Claims To Avoid Post-Closing Retention Payments In Counts I-IV Of The
        Complaint Should Be Dismissed Because The Obligation To Make Any Such
        Payments Lies With Embed, A Non-Debtor, And Plaintiffs Do Not Adequately Allege
        Facts Showing That Such Obligations Are Actually Or Constructively Fraudulent

        The Complaint is impossibly vague with respect to the allegations pled and relief sought

in connection with the retention payments to Defendants other than Mr. Giles. It is unclear whether

Plaintiffs are alleging that any Defendant other than Mr. Giles has received a retention payment




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that is subject to avoidance, or whether they seek only to avoid obligations to make retention

payments to Defendants in the future. Either way, Plaintiffs’ claims to avoid these transfers fail

and should be dismissed.

       As acknowledged in the Complaint, the Incentive Agreements governing the post-closing

retention payments with Embed employees other than Mr. Giles “provide that the bonuses are to

be paid in five installments beginning on September 30, 2023,” and required those employees to

“remain at Embed for two years after [the September 2022] closing in order to receive their full

bonuses,” ¶ 47 & n.5; Ex. 2 ¶ 1. Since the date by which the first installment has not yet passed,

and Plaintiffs cannot recover retention payments that have not yet been made. See, e.g., Asher

Candy Co. v. MAFCO Holdings, Inc. (In re Marvel Ent. Grp., Inc.), 273 B.R. 58, 63, 83-85 (D.

Del. 2002) (finding defendant had no liability under section 548 “because no ‘transfers’ occurred

during the relevant periods within the meaning of the [Bankruptcy] Code”); Kaler v. Remily (In re

Remily), 314 B.R. 790, 798 (Bankr. D. N.D. 2004) (“there was no transfer, and the trustee’s claim

under section 548(a)(1) fails”).

       To the extent Plaintiffs seek to avoid obligations to make retention payments in the future,

the Incentive Agreements make clear that the obligation to make the post-closing retention

payments lies with Embed, a non-Debtor, and that the exercise of that obligation does not require

a transfer of Plaintiff’ property: “[WRS] will cause [Embed] (or, if applicable, another member of

the FTX Group) to pay or cause to be paid to Employee the Retention Incentive Payment.” Ex. 2

¶ 1.

       As a result, the obligation to make post-closing retention payments under the Incentive

Agreements are not avoidable obligations of any Debtor, much less any of the Plaintiffs. Even if

such obligations were subject to avoidance, the Complaint contains no allegations whatsoever to




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support Plaintiffs’ claims that those future obligations are either actual or constructive fraudulent

transfers. In the absence of any factual allegations to support their conclusory statements that the

obligations are avoidable, Plaintiffs’ claims must be dismissed. See In re Opus East, L.L.C., 480

B.R. at 573 (even under the “more relaxed standard” generally applied to a bankruptcy trustee, as

a third party outsider to the debtor’s transactions, “Plaintiffs must accompany their legal theory

with factual allegations that make their theoretically viable claim plausible.”).

VII.   Plaintiffs’ Claim In Count V Of The Complaint To Avoid The Retention Payment
       Made To Mr. Giles As A Preference Should Be Dismissed Because It Was Not Made
       On Account Of An Antecedent Debt

       Count V of the Complaint, which seeks to avoid the retention bonus paid to Mr. Giles at

closing as a preference, ¶¶ 90-100, should also be dismissed because the retention bonus was not

paid on account of an antecedent debt. See Miller v. Energy Star Records (In re DA Liquidating

Corp.), 622 B.R. 172, 176-77 (Bankr. D. Del. 2020) (“To survive a motion to dismiss, Trustee

must sufficiently plead all elements of a preference, including an antecedent debt.”)

       For a transfer to be avoidable as a preference under section 547 of the Bankruptcy Code,

the transfer must be “for or on account of an antecedent debt owed by the debtor before such

transfer was made.” 11 U.S.C. § 547(b)(2) (emphasis added). “A transfer is deemed ‘on account

of an antecedent debt’ if the debtor incurs the liability prior to the alleged preferential transfer.”

Trustee of the NP Creditor Litig. Trust (In re NewPage Corp.), 555 B.R. 444, 450 (D. Del. 2016);

see also In re USDigital, Inc., 443 B.R. at 36; Charys Liquidating Trust v. Hades Advisors, LLC

(In re Charys Holding Co., Inc.), 2010 WL 2788152, at *5 (Bankr. D. Del. July 14, 2010). “A

debt ‘is deemed to have been incurred on the date upon which the debtor first becomes legally

bound to pay.’” In re NewPage Corp., 555 B.R. at 450. A payment obligation typically arises

when the services are performed or the goods are transferred; if the parties to an agreement to

perform services or transfer goods intend that future conditions be satisfied before an obligation



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to pay for services rendered is triggered, the payment obligation (i.e., the debt) arises only after

those contingencies have also occurred. See Piazza v. Pac. Mar. Indus. Corp. (In re George G.

Sharp, Inc.), 2022 WL 1714178, at *10 (Bankr. S.D.N.Y. May 25, 2022) (“[A] contingent

contractual obligation does not give rise to an ‘antecedent debt’ until the payment obligations are

actually triggered.”).

         Here, the Incentive Agreement with Mr. Giles makes clear that payment of Mr. Giles’

retention bonus was contingent upon the closing of the merger transaction and Mr. Giles’

continued employment with Embed through closing: “Employee’s eligibility to receive the

Retention Incentive Payment pursuant to Section 1 is conditioned upon Employee’s continuous

employment with [Embed] through the Closing.” Ex. 3 ¶ 2; see also id. at Recitals ¶ C (“Effective

Date” of the “Agreement” will be “September 30, 2022”); ¶ 1 (“The Retention Incentive Payment

will vest and become payable as of the Effective Date.) (emphasis added). In the Complaint,

Plaintiffs admit that the retention bonus was paid to Mr. Giles contemporaneously with the closing.

¶ 5 (“Defendant Giles was paid his $55,000,000 retention bonus in full on the September 30, 2022

closing date of the transaction.”); ¶ 47 (“Giles was the only one who was paid his full retention

bonus on the September 30, 2022 closing date.”).

         The obligation to pay Mr. Giles’ retention bonus both arose, and was satisfied, on

September 30, 2022, when the merger transaction closed. Where, as here, “there is no delay

between when the debt arises and payment of the obligation,” the transfer is, by definition, not on

account of an antecedent debt and “outside the scope of § 547(b).” In re Hechinger Inv. Co., 489

F.3d at 574. Accordingly, Count V of the Complaint should be dismissed. See In re DA

Liquidating Corp., 622 B.R. at 176-77 (dismissing preference claim for failure to plead antecedent

debt).




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VIII. Counts VI and VII Of The Complaint Should Be Dismissed For Failure To
      Adequately Allege A Primary Violation In Counts I-V

        Count VI of the Complaint, which seeks to recover transferred funds under Bankruptcy

Code section 550(a)(1), ¶¶ 101-03, should be dismissed because, as discussed above, Defendants

are not initial transferees and Plaintiffs have failed in any event to adequately allege facts showing

that these transfers are avoidable under sections 544, 547, and 548. See Majestic Star Casino, LLC

v. Barden Dev., Inc. (In re Majestic Star Casino, LLC), 716 F.3d 736, 750 (3d Cir. 2013)

(explaining that section 550(a)(1) only allows recovery of “property whose transfer has been

avoided”); Allegheny Univ. Health Sci. v. Phila. Health Care Trust (In re Allegheny Health, Educ.

& Rsch. Found.), 253 B.R. 157, 173 (Bankr. W.D. Pa. 2000) (explaining that section 550(a)(1)

only allows recovery “if, and to the extent that, said transfer is successfully avoided”); In re Daily

Bread Winddown, LLC, 2022 Bankr. LEXIS 3078, at *11 (explaining that section 550 is “not a

separate basis for liability” and that to survive a motion to dismiss a claim under section 550 the

plaintiff “needs . . . to state a plausible claim to avoid under section 547 or 548”).

        Similarly, Count VII of the Complaint, which seeks to disallow claims pursuant to

Bankruptcy Code section 502(d), should be dismissed because, as discussed above, Defendants

are not initial transferees and Plaintiffs have failed in any event to adequately allege facts showing

Defendants have received transfers that are recoverable or avoidable. See In re KB Toys Inc., 736

F.3d 247, 249 (3d. Cir. 2013) (“Under § 502(d), a bankruptcy claim can be disallowed if the

claimant receives property that is avoidable or recoverable by the bankruptcy estate”); Giuliano v.

Shorenstein Co. LLC (In re Sunset Aviation, Inc.), 468 B.R. 641, 651–52 (Bankr. D. Del. 2011)

(“Section 502(d) provides that ‘the court shall disallow any claim of any entity from which

property is recoverable under section . . . 550 . . . of this title or that is a transferee of a transfer

avoidable under section[s] . . . 547, 548, 549 of this title.’”).




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                                      CONCLUSION

       For the foregoing reasons, Defendants respectfully request that the Court dismiss with

prejudice the Complaints in both Adv. Pro. No. 23-50379 and Adv. Pro. No. 23-50380.

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                                               Counsel to the Defendants Listed on Annex A




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                                        ANNEX A


9Yards Capital Investments II LP
Aaron Frank
AAVCF3 LP
Adapt VC LLC
Akhil Paul
Benjamin Londergan
Brandon Mann
Brent Johnson
Carol H. Duggan Revocable Living Trust
Cathexis Subsidiaries GP, LLC
Cathexis Ventures, LP
Christian Nordby
Christopher Harper
Christopher Young
Clayton Gardner
David Meents
Dena Wever
Derek Clark
EM Fund I, a series of Chris Golda Investments, LP
Embedfi June 2021, a series of Party Round LLC
Fairchild Fund III, LLC
Fund I, a series of 20VC, LP
Fund I, a series of Not Boring Capital, LP
Harland Group LLC
James Nichols
Joe Percoco
John Dwyer
Jonathan Duarte
Jonathan Weiner
Joshua Allen Slate
Justin Lovero
Kerr Investment Holdings Pty Ltd a/t/f The Kerr Family Trust
Kiara Baudoin
Kick the Hive LLC
KV5 Pty Ltd ATF KV5 Trust
Matthew Lyon
Michael Ferrari
Michael Giles
Monique Saugstad
Motivate Ventures Fund I, LP
Motivate Ventures QP Fund I, LP
Operator Partners, LLC
Peter T. Lawler Living Trust




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Philippe Jabre
PruVen Capital Partners Fund I, LP
S20, a series of Chris Golda Investments, LP
Silverstone Venture Investments Limited
Soma Capital Fund, III, LP
Soma Capital Fund III Partners LLC
Stephen Harper
Stuart Sopp
SWS Holding Company, LLC
The Gardner 2008 Living Trust
Thomas G. Miglis Revocable Trust
TriplePoint Private Venture Credit Inc.
TriplePoint Venture Lending Fund, LLC
TriplePoint Ventures 5 LLC
VentureSouq Capital SPC o/b/o VSQ SP 59 (YCS20)
William Hockey Living Trust
Yaselleraph Finance Pty Ltd ATF Yaselleraph Finance Trust
Z Perret Trust




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